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                        EXHIBIT A
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       Exhibit A


 1

 2
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 3

 4    CHRIS HASHEM, individually and                Case No.: 2:20-cv-02303-CBM-MAA
      on behalf of all others similarly situated,
 5                                                  (Consolidated with Case No. 2:20-cv-
                                 Plaintiff,         02895-CBM-MAA)
 6
                   vs.                              [PROPOSED] ORDER GRANTING
 7                                                  PLAINTIFFS’ MOTION FOR
      NMC HEALTH PLC, PRASANTH                      PRELIMINARY APPROVAL OF
 8    MANGHAT, KHALIFA BIN BUTTI,                   PARTIAL CLASS ACTION
      PRASHANTH SHENOY, H.J. MARK                   SETTLEMENT
 9    TOMPKINS, and B.R. SHETTY,
10                                                   [Honorable Consuelo B. Marshall]
                                 Defendants.
11

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        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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 1
                 [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR
                   PRELIMINARY APPROVAL OF PARTIAL CLASS ACTION
 2                                 SETTLEMENT
 3
                 WHEREAS, Lead Plaintiffs Chris Hashem, Shengming Huang and Abdul
 4
      Razeq Abdul Ahad (“Lead Plaintiffs”), on behalf of themselves and the Settlement
 5
      Class, and Defendant B.R. Shetty (“Dr. Shetty” or the “Settling Defendant” and with
 6
      Lead Plaintiffs, the “Settling Parties”) entered into the Stipulation and Agreement of
 7
      Settlement, dated February 17, 2022 ( “Settlement Stipulation”), which is subject to
 8
      review under Rule 23 of the Federal Rules of Civil Procedure, and which, together
 9
      with the exhibits annexed thereto, sets forth the terms and conditions for the
10
      proposed settlement and dismissal of the class action pending before the Court titled,
11
      Hashem v. NMC Health PLC, et al., Case No. 2:20-cv-02303-CBM-MAA (C.D.
12
      Cal.), which is consolidated with Shengming Huang v. NMC Health PLC., et al., No.
13
      2:20-cv-02895-CBM-MAA (collectively, the “Action”); and the Court having read
14
      and considered the Settlement Stipulation and the exhibits thereto and submissions
15
      made relating thereto, and finding that substantial and sufficient grounds exist for
16
      entering this Order;
17
                 NOW, THEREFORE, IT IS HEREBY ORDERED, this ____ day of
18
      __________, 2022, that:
19
                 1.   Capitalized terms used herein have the meanings defined in the
20
      Settlement Stipulation.
21
                 2.   Pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil
22
      Procedure and for the purposes of the Settlement only, the Action is hereby
23
      preliminarily certified as a class action on behalf of all Persons that purchased or
24
      acquired NMC Health PLC (“NMC”) American Depositary Shares (“ADSs”)
25
      between March 13, 2016 and March 10, 2020, both dates inclusive ( “Class Period”)
26
      excluding: (i) Defendants; (ii) current and former officers and directors of NMC and
27
      any Released Parties as defined in paragraph 1.26 of the Settlement Stipulation; (iii)
28                                                 2
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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 1    the Persons deemed Related Parties to the Released Parties as defined in paragraph
 2    1.24 of the Settlement Stipulation; (iv) the respective spouses, children, or parents of
 3    any Person excluded under subparagraphs, (i) through (iii) of this paragraph; (v) any
 4    Person more than 5% owned or directly or indirectly controlled by any Person
 5    excluded under subparagraphs (i) through (iv) of this paragraph or any trust of which
 6    such a Person is a beneficiary or of which any Person is related or affiliated to a
 7    beneficiary or a trustee; (vi) the respective heirs, successors, trustees and assigns of
 8    any Person excluded under paragraphs (i) through (v); and (vii) those Persons who
 9    file valid and timely requests for exclusion in accordance with this Preliminary
10    Approval Order.
11               3.   This Court finds, preliminarily and for purposes of this Settlement only,
12    that the prerequisites for a class action under Rules 23(a) and (b)(3) of the Federal
13    Rules of Civil Procedure have been satisfied in that: (a) the number of Settlement
14    Class Members is so numerous that joinder of all members of the Settlement Class is
15    impracticable; (b) there are questions of law and fact common to the Settlement
16    Class; (c) the Lead Plaintiffs’ claims are typical of the claims of the Settlement Class
17    they seek to represent; (d) Lead Plaintiffs fairly and adequately represent the
18    interests of the Settlement Class; (e) questions of law and fact common to the
19    Settlement Class predominate over any questions affecting only individual members
20    of the Settlement Class; and (f) a class action is superior to other available methods
21    for the fair and efficient adjudication of the Action.
22               4.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure,
23    preliminarily and for the purposes of this Settlement only, Lead Plaintiffs are
24    certified as the class representatives on behalf of the Settlement Class and Lead
25    Counsel, previously selected by Lead Plaintiffs and appointed by the Court, is
26    hereby appointed as Co-Lead Counsel for the Settlement Class.
27               5.   The Court finds that (a) the Settlement Stipulation resulted from good
28                                                 3
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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 1    faith, arm’s length negotiations, and (b) the Settlement Stipulation is sufficiently
 2    fair, reasonable and adequate to the Settlement Class Members to warrant providing
 3    notice of the Settlement to Settlement Class Members and holding a Settlement
 4    Hearing.
 5               6.     The Court hereby preliminarily approves the Settlement, subject to
 6    further consideration at a hearing (“Settlement Hearing”) pursuant to Federal Rule of
 7    Civil Procedure 23(e), which is hereby scheduled to be held before the Court on
 8    _____________ 2022 at __:___ _.m. for the following purposes:
 9                      (a)   to determine finally whether the applicable prerequisites for class
10               action treatment under Federal Rules of Civil Procedure 23(a) and (b) are
11               satisfied;
12                      (b)   to determine finally whether the Settlement is fair, reasonable,
13               and adequate, and should be approved by the Court;
14                      (c)   to determine finally whether the Order and Partial Final
15               Judgment as provided under the Settlement Stipulation should be entered,
16               dismissing the Action on the merits and with prejudice as to Dr. Shetty, and to
17               determine, among other things, whether the release by the Plaintiffs Releasing
18               Parties of the Released Claims against the Released Parties, as set forth in the
19               Settlement Stipulation, should be ordered, along with a permanent injunction
20               barring efforts to prosecute or attempt to prosecute any of Plaintiffs’ Released
21               Claims extinguished by the release against any of the Released Parties, as also
22               set forth in the Settlement Stipulation;
23                      (d)   to determine finally whether the proposed Plan of Allocation for
24               the distribution of the Net Settlement Fund is fair and reasonable and should
25               be approved by the Court;
26                      (e)   to consider any application of Co-Lead Counsel for an award of
27               fees and expenses to Lead Counsel, or a compensatory award to Lead
28                                                    4
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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 1               Plaintiffs;
 2                      (f)     to consider Settlement Class Members’ or any other Person’s
 3               objections to the Settlement, if any, whether submitted previously in writing
 4               or presented orally at the Settlement Hearing by Settlement Class Members
 5               (or by counsel on their behalf) provided that they gave proper notice that they
 6               intend to appear at the Settlement Hearing; and
 7                      (g)     to rule upon such other matters as the Court may deem
 8               appropriate.
 9               7.     The Court reserves the right to adjourn the Settlement Hearing to a later
10    date and to approve the Settlement without modification, or with such modifications
11    as may be agreed to by the Settling Parties, and with or without further notice of any
12    kind. The Court further reserves the right to enter its Order and Partial Final
13    Judgment approving the Settlement and dismissing the Action as to Dr. Shetty, on
14    the merits and with prejudice, regardless of whether it has approved the Plan of
15    Allocation or awarded expenses. Nothing in this Order shall affect the ability of
16    Lead Plaintiffs or the Settlement Class to continue to prosecute claims in this Action
17    against the remaining Defendants other than Dr. Shetty.
18               8.     The Court approves the form, substance and requirements of (a) the
19    Notice, (b) the Summary Notice, (c) the Postcard Notice, and (d) the Proof of Claim
20    and Release Form, all of which are exhibits to the Settlement Stipulation.
21               9.     Co-Lead Counsel has the authority to enter into the Settlement on
22    behalf of the Settlement Class and has the authority to act on behalf of the
23    Settlement Class with respect to all acts or consents required by or that may be given
24    pursuant to the Settlement Stipulation or such other acts that are reasonably
25    necessary to consummate the Settlement.
26               10.    For settlement purposes only, Strategic Claims Services is appointed
27    and approved as the Claims Administrator to supervise and administer the notice
28                                                    5
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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 1    procedure as well as the processing of claims. Up to $25,000 in notice and
 2    administration costs may be paid to the Claims Administrator without further order
 3    of this Court.
 4               11.   Within sixteen (16) calendar days of the entry of this Order, Co-Lead
 5    Counsel, through the Claims Administrator, shall either (a) email the Notice to
 6    Settlement Class Members for whom the Claims Administrator is able to obtain
 7    email addresses, substantially in the form annexed to the Settlement Stipulation as
 8    Exhibit A-1 or (b) cause the Postcard Notice, substantially in the form annexed to
 9    the Settlement Stipulation as Exhibit A-4 to be mailed, by first class mail, postage
10    prepaid, to Settlement Class Members who can be identified with reasonable effort
11    by Co-Lead Counsel, through the Claims Administrator.
12               12.   Any nominees or custodians requesting additional Notice shall, within
13    ten (10) calendar days of receipt of the notice, either: (i) request copies of the
14    Postcard Notice sufficient to send the Postcard Notice to all beneficial owners for
15    whom they are nominee or custodian, and within ten (10) calendar days after receipt
16    thereof send copies to such beneficial owners; or (ii) request an electronic link to the
17    Notice and Proof of Claim and Release Form (“Notice and Claim Link”), and within
18    ten (10) calendar days after receipt thereof, email the Notice and Claim Links to
19    such beneficial owners for whom valid email addresses are available; or (iii) provide
20    the Claims Administrator with lists of the names, last known addresses and email
21    addresses (to the extent known) of such beneficial owners, in which event the
22    Claims Administrator shall promptly deliver the Postcard Notice to such beneficial
23    owners. If the Claims Administrator receives an email address, it will send a Notice
24    and Claim Link electronically. Nominees or custodians who elect to send the
25    Postcard Notice or Notice and Claim Link to their beneficial owners shall send a
26    written certification to the Claims Administrator confirming that the mailing or
27    emailing has been made as directed. Copies of the Postcard Notice or Notice and
28                                                  6
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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 1    Claim Links shall be made available to any nominee or custodian requesting same
 2    for the purpose of distribution to beneficial owners. The Claims Administrator shall,
 3    if requested, reimburse nominees or custodians out of the Settlement Fund solely for
 4    their reasonable out-of-pocket expenses, incurred in providing notice to beneficial
 5    owners, which expenses would not have been incurred except for the providing
 6    names and addresses up to $0.05 per name (with address and email address)
 7    provided to the Claims Administrator; up to $0.05 per Postcard Notice plus postage
 8    at the rate used by the Claims Administrator; or up to $0.05 per Notice and Claim
 9    Link sent by email, and subject to further order of this Court with respect to any
10    dispute concerning such reimbursement.
11               13.   Co-Lead Counsel shall, at least seven (7) calendar days before the
12    Settlement Hearing, serve upon counsel for Settling Defendant and file with the
13    Court proof of the mailing of the Postcard Notice as required by this Order.
14               14.   Co-Lead Counsel, through the Claims Administrator, shall cause the
15    Settlement Stipulation and its exhibits, this Order, and a copy of the Notice and
16    Proof of Claim and Release Form to be posted on the Claims Administrator’s
17    website within sixteen (16) calendar days after entry of this Order.
18               15.   Co-Lead Counsel, through the Claims Administrator, shall cause the
19    Summary Notice to be published electronically once on the GlobeNewswire within
20    ten (10) calendar days after the Postcard Notice mailing or Notice and Claim Link
21    emailing. Co-Lead Counsel shall, at least seven (7) calendar days before the
22    Settlement Hearing, serve upon counsel for Settling Defendant and file with the
23    Court proof of publication of the Summary Notice.
24               16.   The forms and methods set forth herein of notifying the Settlement
25    Class Members of the Settlement and its terms and conditions meet the requirements
26    of due process, Rule 23 of the Federal Rules of Civil Procedure, and Section
27    21D(a)(7) of the Exchange Act, 15 U.S.C. 78u-4(a)(7), as amended by the Private
28                                                  7
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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 1    Securities Litigation Reform Act of 1995; constitute the best notice practicable
 2    under the circumstances; and constitute due and sufficient notice to all Persons
 3    entitled thereto. No Settlement Class Member will be relieved from the terms and
 4    conditions of the Settlement, including the releases provided for therein, based upon
 5    the contention or proof that such Settlement Class Member failed to receive actual or
 6    adequate notice.
 7               17.   In order to be entitled to participate in recovery from the Net Settlement
 8    Fund after the Effective Date, each Settlement Class Member shall take the
 9    following action and be subject to the following conditions:
10                     (a)    If not already submitted in connection with the Tompkins
11               Settlement, a properly completed and executed Proof of Claim and Release
12               Form must be submitted to the Claims Administrator: (a) electronically
13               through the Claims Administrator’s website,
14               www.strategicclaims.net/NMCHealth, by 11:59 p.m. EST on ______, 202__;
15               or (b) at the Post Office Box indicated in the Notice, postmarked no later than
16               ______________, 202__ (thirty (30) calendar days prior to the Settlement
17               Hearing). Such deadline may be further extended by Order of the Court. Each
18               Proof of Claim and Release Form shall be deemed to have been submitted
19               when: (a) the claim receives a confirmation notice from Strategic Claims
20               Services for electronic submissions; or (b) legibly postmarked (if properly
21               addressed and mailed by first class mail) provided such Proof of Claim and
22               Release Form is actually received before the filing of a motion for an Order of
23               the Court approving distribution of the Net Settlement Fund. Any Proof of
24               Claim and Release Form submitted in any other manner shall be deemed to
25               have been submitted when it was actually received by the Claims
26               Administrator at the address designated in the Notice. Any valid Proof of
27               Claim and Release Form submitted in connection with the Tompkins
28                                                   8
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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 1               Settlement is also deemed submitted for purposes of this Settlement, and
 2               subject to the release set forth in the Notice.
 3                     (b)    The Proof of Claim and Release Form submitted by each
 4               Settlement Class Member must satisfy the following conditions: (i) it must be
 5               properly completed, signed and submitted in a timely manner in accordance
 6               with the provisions of the preceding subparagraph; (ii) it must be
 7               accompanied by adequate supporting documentation for the transactions
 8               reported therein, in the form of broker confirmation slips, broker account
 9               statements, an authorized statement from the broker containing the
10               transactional information found in a broker confirmation slip, or such other
11               documentation as is deemed adequate by the Claims Administrator or Co-
12               Lead Counsel; (iii) if the Person executing the Proof of Claim and Release
13               Form is acting in a representative capacity, a certification of his current
14               authority to act on behalf of the Settlement Class Member must be provided
15               with the Proof of Claim and Release Form; and (iv) the Proof of Claim and
16               Release Form must be complete and contain no material deletions or
17               modifications of any of the printed matter contained therein and must be
18               signed under penalty of perjury.
19                     (c)    Once the Claims Administrator has considered a timely
20               submitted Proof of Claim and Release Form, it shall determine whether such
21               claim is valid, deficient, or rejected. For each claim determined to be either
22               deficient or rejected, the Claims Administrator shall send a deficiency letter or
23               rejection letter as appropriate, describing the basis on which the claim was so
24               determined. Persons who timely submit a Proof of Claim and Release Form
25               that is deficient or otherwise rejected shall be afforded a reasonable time (at
26               least ten (10) calendar days) to cure such deficiency if it shall appear that such
27               deficiency may be cured. If any Claimant whose claim has been rejected in
28                                                     9
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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 1               whole or in part wishes to contest such rejection, the Claimant must, within
 2               ten (10) calendar days after the date of mailing of the notice, serve upon the
 3               Claims Administrator a notice and statement of reasons indicating the
 4               Claimant’s ground for contesting the rejection along with any supporting
 5               documentation, and requesting a review thereof by the Court. If an issue
 6               concerning a claim cannot be otherwise resolved, Co-Lead Counsel shall
 7               thereafter present the request for review to the Court.
 8                     (d)    As part of the Proof of Claim and Release Form, each Settlement
 9               Class Member shall submit to the jurisdiction of the Court with respect to the
10               claim submitted, and shall, upon the Effective Date, release all claims as
11               provided in the Settlement Stipulation. No discovery shall be allowed on the
12               merits of the Action or the Settlement in connection with processing of the
13               Proof of Claim and Release Forms, nor shall any discovery from or of
14               Defendants be allowed on any topic.
15               18.   All Settlement Class Members who do not submit valid and timely
16    Proof of Claim and Release Forms will be forever barred from receiving any
17    payments from the Net Settlement Fund, but will in all other respects be subject to
18    and bound by the provisions of the Settlement Stipulation and the Order and Partial
19    Final Judgment, if entered.
20               19.   Settlement Class Members shall be bound by all determinations and
21    judgments in this Action whether favorable or unfavorable, unless such Persons
22    request exclusion from the Settlement Class in a timely and proper manner, as
23    hereinafter provided. A Settlement Class Member wishing to make such request for
24    exclusion shall mail it by first class mail, postage prepaid, or otherwise deliver it, so
25    that it is received no later than ____________, 202__ (twenty-one (21) calendar
26    days prior to the Settlement Hearing) (“Exclusion Deadline”), to the address listed in
27    the Notice. In order to be valid, such request for exclusion (A) must clearly indicate
28                                                   10
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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 1    the name and address and phone number and e-mail contact information (if any) of
 2    the Person seeking exclusion, and state that the sender specifically “requests to be
 3    excluded from the Settlement Class in Hashem v. NMC Health PLC, et al., 2:20-cv-
 4    02303-CBM-MAA (C.D. Cal.) and Shengming Huang v. NMC Health PLC., et al.,
 5    No. 2:20-cv-02895-CBM-MAA (C.D. Cal.)” and (B) state the date, number of
 6    shares and dollar amount of each NMC ADS purchase or acquisition during the
 7    Settlement Class Period, and any sale transactions as well as the number of NMC
 8    ADSs held by the Person as of March 13, 2016 and March 10, 2020. In order to be
 9    valid, such request for exclusion must be submitted with documentary proof: (i) of
10    each purchase or acquisition and, if applicable, sale transaction of NMC ADSs
11    during the Settlement Class Period; and (ii) demonstrating the Person’s status as a
12    beneficial owner of the NMC ADSs. Any such request for exclusion must be signed
13    and submitted by the beneficial owner under penalty of perjury. The request for
14    exclusion shall not be effective unless it provides the required information, is
15    legible, and is made within the time stated above, or the exclusion is otherwise
16    accepted by the Court. Co-Lead Counsel may contact any Person filing a request for
17    exclusion, or their attorney if one is designated, to discuss the request for exclusion.
18               20.   The Claims Administrator shall provide all requests for exclusion and
19    supporting documentation submitted therewith (including untimely requests and
20    revocations of requests) to counsel for the Settling Parties (by email) as soon as
21    possible and no later than the Exclusion Deadline or upon the receipt thereof (if later
22    than the Exclusion Deadline). The Settlement Class will not include any Person who
23    delivers a valid and timely request for exclusion.
24               21.   Any Person that submits a request for exclusion may thereafter submit
25    to the Claims Administrator a written revocation of that request for exclusion,
26    provided that it is received no later than two (2) Business Days before the Settlement
27    Hearing, in which event that Person will be included in the Settlement Class.
28                                                 11
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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 1               22.   All Persons who submit a valid, timely and unrevoked request for
 2    exclusion will be forever barred from receiving any payments from the Net
 3    Settlement Fund.
 4               23.   The Court will consider comments and/or objections to the Settlement,
 5    the Plan of Allocation, or the Expense Application, provided, however, that no
 6    Settlement Class Member or other Person shall be heard or entitled to contest the
 7    approval of the terms and conditions of the proposed Settlement or, if approved, the
 8    Order and Partial Final Judgment, or any other order relating thereto, unless that
 9    Person has served copies of any objections, papers and briefs to the following
10    counsel at least twenty-one (21) calendar days prior to the Settlement Hearing Date:
11               POMERANTZ LLP
12
                 Joshua Silverman, Esq.
                 10 South La Salle Street, Suite 3505
13               Chicago, Illinois 60603
14

15               THE ROSEN LAW FIRM, P.A.
                 Phillip Kim, Esq.
16               275 Madison Avenue, 40th Floor
17               New York, New York 10016

18               MEISTER SEELIG & FEIN LLP
19               Austin D. Kim
                 125 Park Avenue, 7th Floor
20               New York, NY 10017
21

22
                 To be valid, any such objection must contain the Person’s: (1) name, address,

23
      and telephone number; (2) a list of all purchases and sales of the NMC ADSs during

24
      the Class Period in order to show membership in the Settlement Class; (3) all

25
      grounds for the objection, including any legal support known to the Settlement Class

26
      Member and/or his, her, or its counsel; (4) the name, address and telephone number

27
      of all counsel who represent the Settlement Class Member, including former or

28                                                  12
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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 1    current counsel who may be entitled to compensation in connection with the
 2    objection; and (5) the number of times the Settlement Class Member and/or his, her,
 3    or its counsel has filed an objection to a class action settlement in the last five years,
 4    the nature of each such objection in each case, the jurisdiction in each case, and the
 5    name of the issuer of the security or seller of the product or service at issue in each
 6    case. Attendance at the Settlement Hearing is not necessary but Persons wishing to
 7    be heard orally in opposition to the approval of the Settlement Stipulation, the Plan
 8    of Allocation, and/or the Expense Application are required to indicate in their
 9    written objection (or in a separate writing that is submitted in accordance with the
10    deadline and after instruction pertinent to the submission of a written objection) that
11    they intend to appear at the Settlement Hearing and identify any witnesses they may
12    call to testify or exhibits they intend to introduce into evidence at the Settlement
13    Hearing. Settlement Class Members do not need to appear at the Settlement Hearing
14    or take any other action to indicate their approval.
15               24.   Any Settlement Class Member or other Person who does not object in
16    the manner prescribed above shall be deemed to have waived all such objections and
17    shall forever be foreclosed from making any objection to the fairness, adequacy or
18    reasonableness of the Settlement, the Order and Partial Final Judgment to be entered
19    approving the Settlement, the Plan of Allocation, and/or Fee and Expense
20    Application, unless otherwise ordered by the Court; shall be bound by all the terms
21    and provisions of the Settlement Stipulation and by all proceedings, orders and
22    judgments in the Action; and shall also be foreclosed from appealing from any
23    judgment or order entered in this Action.
24               25.   The Court reserves the right to adjourn the Settlement Hearing without
25    any further notice other than entry of an Order on the Court’s docket, and to approve
26    the Settlement without further notice to the Settlement Class.
27               26.   All papers in support of the Settlement, the Plan of Allocation and/or
28                                                  13
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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 1    the Fee and Expense Application shall be filed and served no later than twenty-eight
 2    (28) calendar days before the Settlement Hearing.
 3               27.   Any submissions filed in response to any objections or in further
 4    support of the Settlement, the Plan of Allocation and/or the Fee and Expense
 5    Application shall be filed no later than seven (7) calendar days prior to the
 6    Settlement Hearing.
 7               28.   Settling Defendant, his counsel, his insurers (if any) and other Released
 8    Parties shall have no responsibility for, or liability with respect to, the Plan of
 9    Allocation or any application for attorneys’ fees and interest, or expenses or
10    payments to the Lead Plaintiffs submitted by Co-Lead Counsel, and such matters
11    will be considered separately from the fairness, reasonableness, and adequacy of the
12    Settlement.
13               29.   Pending final determination of whether the Settlement should be
14    approved, all Plaintiffs Releasing Parties shall be enjoined from commencing,
15    prosecuting, or attempting to prosecute any Released Claims against any Released
16    Party in any court or tribunal or proceeding (including in the Action), unless and
17    until the Settlement Stipulation is cancelled and terminated pursuant to the
18    Settlement Stipulation.
19               30.   Dr. Shetty shall not be required to answer or otherwise respond to the
20    complaints in this Action unless the Settlement is terminated, canceled or otherwise
21    fails to become effective. In the event the Settlement is terminated, canceled or
22    otherwise fails to become effective, Dr. Shetty shall have 21 days from such event to
23    answer, move, or otherwise respond to the pending complaints in this Action.
24               31.   All funds held in the Escrow Account shall be deemed and considered
25    to be in the custody of the Court, and shall remain subject to the jurisdiction of the
26    Court, until such time as such funds shall be distributed or returned pursuant to the
27    Settlement Stipulation and Plan of Allocation and/or further order(s) of the Court.
28                                                  14
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
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 1               32.   Neither the Settlement Stipulation, nor any of its terms or provisions,
 2    nor any of the negotiations or proceedings connected with it, nor this Order shall be
 3    construed as an admission or concession by the Settling Defendant, his counsel, his
 4    insurers (if any) or any of the other Released Parties of the truth of any of the
 5    allegations in the Action, or of any liability, fault, or wrongdoing or any kind and
 6    shall not be construed as, or deemed to be evidence of or an admission or concession
 7    that Lead Plaintiffs or any Settlement Class Members have suffered any damages,
 8    harm, or loss. Further, neither the Settlement Stipulation, nor any of its terms or
 9    provisions, nor any of the negotiations or proceedings connected with it, nor this
10    Order shall be construed as, or argued to be, a waiver of any of Dr. Shetty’s defenses
11    in the Action, including but not limited to the defenses listed in Fed. R. Civ. P. 12(b)
12    with regard to the complaints in the Action (and including Dr. Shetty’s rights,
13    objections and defenses based on lack of personal jurisdiction and venue/forum).
14    Further, neither the Settlement Stipulation, nor any of its terms or provisions, nor
15    any of the negotiations or proceedings connected with it, nor this Order shall be
16    construed as an admission or concession by the Lead Plaintiffs of the validity of any
17    factual or legal defense or of the infirmity of any of the claims or facts alleged in this
18    Action.
19               33.   In the event the Settlement is not consummated in accordance with the
20    terms of the Settlement Stipulation, then the Settlement Stipulation and this Order
21    (including any amendment(s) thereof, and except as expressly provided in the
22    Settlement Stipulation or by order of the Court) shall be null and void, of no further
23    force or effect, and without prejudice to any Settling Party, and may not be
24    introduced as evidence or used in any action or proceeding by any Person against the
25    Settling Parties or the Released Parties, and each Settling Party shall be restored to
26    his, her or its respective litigation positions as they existed prior to December 27,
27    2021, pursuant to the terms of the Settlement Stipulation.
28                                                  15
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
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 1               34.   The Court reserves the right to alter the time or the date of the
 2    Settlement Hearing without further notice to the Settlement Class Members,
 3    provided that the time or the date of the Settlement Hearing shall not be set at a time
 4    or date earlier than the time and date set forth in ¶ 6 above. The Court retains
 5    exclusive jurisdiction to consider all further matters arising out of, or relating to, the
 6    Settlement Stipulation, including by way of illustration and not limitation, any
 7    dispute concerning any Proof of Claim and Release Form submitted and any future
 8    requests by one or more of the Settling Parties that the Order and Partial Final
 9    Judgment, the releases and/or the permanent injunction set forth in the Settlement
10    Stipulation be enforced.
11

12               Dated: ___________, 2022
13

14                                                        ______________________________
15
                                                          HON. Consuelo B. Marshall
                                                          UNITED STATES DISTRICT JUDGE
16

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28                                                   16
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF PARTIAL
                       CLASS ACTION SETTLEMENT, Case No. 2:20cv02895-CBM-MAA

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                      EXHIBIT A-1
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       Exhibit A-1


 1

 2
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 3

 4    CHRIS HASHEM, individually and                Case No.: 2:20-cv-02303-CBM-MAA
      on behalf of all others similarly situated,
 5                                                  (Consolidated with Case No. 2:20-cv-
                                 Plaintiff,         02895-CBM-MAA)
 6
                   vs.                              NOTICE OF PENDENCY AND
 7                                                  PROPOSED PARTIAL
      NMC HEALTH PLC, PRASANTH                      SETTLEMENT OF CLASS ACTION
 8    MANGHAT, KHALIFA BIN BUTTI,
      PRASHANTH SHENOY, H.J. MARK                    [Honorable Consuelo B. Marshall]
 9    TOMPKINS, and B.R. SHETTY,
10                               Defendants.
11

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          NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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       Exhibit A-1


 1     NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF
 2                                      CLASS ACTION
 3          If you purchased or acquired NMC Health PLC’s (“NMC” or the “Company”)
 4    American Depositary Shares (“ADSs”) during the period from March 13, 2016 and
 5    March 10, 2020, both dates inclusive (“Class Period”), you could get a payment from
 6    a class action settlement (“Settlement”).
 7

 8          Under law, a federal court has authorized this Notice. This is not attorney
 9    advertising.
10

11       • If approved by the Court, the Settlement will provide three hundred thousand
12          dollars ($300,000) (“Settlement Fund”) gross, plus interest as it accrues, minus
13          costs, administrative and distributive expenses for processing claims, and net
14          of any taxes on interest, to pay claims of investors who purchased or acquired
15          NMC ADSs during the Class Period.
16

17       • The Settlement represents an estimated average recovery of $0.75 per share of
18          NMC for the approximately 400,000 American Depositary Shares (“ADSs”),
19          before expenses, that Co-Lead Counsel estimate were outstanding as of March
20          10, 2020 if 100% of such ADS holders file claims to participate in the
21          recovery. An ADS may have been traded more than once during the Class
22          Period, and the actual number of ADS outstanding during the Settlement Class
23          Period may be higher or lower than estimated. This estimate solely reflects the
24          average estimated recovery per outstanding share of estimated NMC ADSs.
25

26       • Co-Lead Counsel will seek fees of no more than one-third of the Settlement
27          Amount, reimbursement of no more than $10,000 in reasonable and necessary
28                                                2
          NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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 1          litigation expenses that Co-Lead Counsel advanced to prosecute this Action on
 2          behalf of Settlement Class Members, and awards to Lead Plaintiffs of no more
 3          than $3,000 each. Collectively, these fees, expenses, and awards are estimated
 4          to average $0.30 per outstanding ADS. If approved by the Court, these
 5          amounts will be paid from the Settlement Amount.
 6

 7       • The average estimated recovery per ADS (assuming 100% of estimated ADS
 8          holders file claims for recovery), after deducting the maximum amount of all
 9          potential awards and litigation expense awards identified above, is $0.45 per
10          ADS. This estimate is based on the assumptions set forth in the preceding
11          paragraphs. This is not an estimate of the actual recovery per share you should
12          expect. Your actual recovery, if any, will depend on the aggregate losses of all
13          Settlement Class Members, the date(s) you purchased and sold NMC ADSs,
14          the purchase and sales prices, and the total number of claims filed.
15

16       • This Settlement is in addition to the prior settlement with H.J. Mark Tompkins
17          (the “Tompkins Settlement”) and the prior settlement with Prasanth Manghat
18          (the “Manghat Settlement”).
19
         • The Settlement resolves the Action concerning whether B.R. Shetty (“Settling
20
            Defendant”) violated federal securities laws by allegedly making
21
            misrepresentations and/or omissions of material fact in various public
22
            statements to the investing public concerning NMC’s business operations,
23
            prospects, and financial health. Settling Defendant has denied and continues to
24
            deny each, any and all allegations of wrongdoing, fault, liability or damage
25
            whatsoever asserted by Plaintiffs. Settling Defendant has also denied, inter
26
            alia, the allegations that Plaintiffs or the Settlement Class have suffered
27
            damages or that Plaintiffs or the Settlement Class were harmed by the conduct
28                                               3
          NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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 1          alleged in the Action. Settling Defendant does not by this settlement waive
 2          any of his defenses, including his defenses under Fed. R. Civ. P. 12(b), and
 3          Settling Defendant also denies that the Court has personal jurisdiction over
 4          him. Settling Defendant continues to believe the claims asserted against him
 5          in the Action are without merit. Plaintiffs do not agree with these positions,
 6          but accept that motion practice and trial have considerable risks.
 7

 8       • Your legal rights will be affected whether you act or do not act. If you do not
 9          act, you may permanently forfeit your right to recover on this claim.
10          Therefore, you should read this Notice carefully.
11

12             YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
13
                                   If you have not already submitted a claim form in
14                           connection with the Tompkins Settlement or the Manghat
                             Settlement, fill out the attached Proof of Claim and Release
15      Submit a Claim       Form and submit it no later than _____. This is the only
16      Form                 way to get a payment. If you have questions regarding
                             whether the Claims Administrator already has received
17
                             a claim from you, please contact the Claims
18                           Administrator.
19                                  Submit a request for exclusion no later than _____.
                             This is the only way you can ever be part of any other
20
        Exclude Yourself     lawsuit against Settling Defendant or the other Released
21
        from the Class       Parties about the legal claims in this case. If you exclude
                             yourself, you will receive no payment and cannot object
22
                             or speak at the hearing.
23
                                    Write to the Court, Co-Lead Counsel, and Counsel
24                           for the Settling Defendant no later than ______ about why
25      Object               you do not like the Settlement. You can still submit a claim
                             form. If the Court approves the Settlement, you will be
26                           bound by it.
27

28                                              4
          NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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 1                              Ask to speak in Court about the fairness of the
                          Settlement by submitting in writing to the Court, Co-Lead
 2
                          Counsel, and Counsel for the Settling Defendant, no later
 3      Go to the Hearing than _________, that you intend to appear at the
                          Settlement Hearing on ______. You can still submit a
 4
                          claim form. If the Court approves the Settlement, you will
 5                        be bound by it.
 6                                 Get no payment AND give up your right to bring
        Do Nothing           your own individual action.
 7

 8

 9          INQUIRIES

10          Please do not contact the Court regarding this Notice. All inquiries

11    concerning this Notice, the Proof of Claim and Release Form, or the Settlement should

12    be directed to:

13
       NMC Health PLC Securities Litigation           POMERANTZ LLP
14
       c/o Strategic Claims Services
                                            OR        Joshua Silverman, Esq.
15     P.O. Box 230
                                                      10 South La Salle Street, Suite
       600 N. Jackson St., Ste. 205
16                                                    3505
       Media, Pennsylvania 19063
                                                      Chicago, Illinois 60603
17     Telephone: 866-274-4004
                                                      Telephone: (312) 377-1181
       Facsimile: 610-565-7985
18                                                    Facsimile: (312) 377-1184
       info@strategicclaims.net
19

20
                                                      THE ROSEN LAW FIRM, P.A.
                                                      Phillip Kim, Esq.
21                                                    275 Madison Avenue, 40th Floor
22
                                                      New York, New York 10016
                                                      Telephone: (212) 686-1060
23                                                    Fax: (212) 202-3827
24

25

26

27

28                                             5
          NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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 1          DEFINITIONS
 2          All capitalized terms not otherwise defined herein shall have the same
 3    meanings as set forth in the Stipulation and Agreement of Settlement, dated February
 4    17, 2022 (“Settlement Stipulation”).
 5    COMMON          QUESTIONS         AND       ANSWERS         CONCERNING            THE
 6    SETTLEMENT
 7    1.    Why did I get this Notice?
 8          You or someone in your family may have acquired NMC ADSs from March
 9    13, 2016 and March 10, 2020, both dates inclusive.
10    2.    What is this lawsuit about?
11          The case is known as Hashem v. NMC Health PLC, et al., 2:20-cv-02303-
12    CBM-MAA (C.D. Cal.), which is consolidated with Shengming Huang v. NMC
13    Health PLC, et al., 2:20-cv-02895-CBM-MAA (C.D. Cal) (collectively, the
14    “Action”). The Court in charge of the case is the United States District Court,
15    Central District of California.
16          The Action involves allegations that Defendants violated certain federal
17    securities laws by making misrepresentations or omissions of material fact
18    concerning NMC’s business, operations, and prospects. The complaint alleges that
19    the misstatements or omissions artificially inflated the price of NMC ADSs, and that
20    the ADS’s price dropped in response to certain subsequent disclosures. Settling
21    Defendant has denied and continues to deny each, any and all allegations of
22    wrongdoing, fault, liability or damage whatsoever asserted in the Action. The
23    Settlement shall in no event be construed as, or deemed to be evidence of, liability,
24    fault, wrongdoing, injury or damages, or of any wrongful conduct, acts or omissions
25    on the part of any of the Settling Defendant or the Released Parties, or of any
26    infirmity of any defense, or of any damages to the Plaintiffs or any other Settlement
27    Class Member. The Settlement resolves all of the claims against Settling Defendant
28                                               6
           NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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 1    in the Action, including certain other claims or potential claims, whether known or
 2    unknown.
 3    3.       Why is this a class action?
 4             In a class action, one or more persons and/or entities, called plaintiffs, sue on
 5    behalf of all persons and/or entities who have similar claims. All of these persons
 6    and/or entities are referred to collectively as a class, and these persons and/or entities
 7    are known as class members. One court resolves all of the issues for all class
 8    members, except for those class members who exclude themselves from the class.
 9    4.       Why is there a Settlement?
10             Plaintiffs and Settling Defendant do not agree regarding the merits of
11    Plaintiffs’ allegations and Settling Defendant’s defenses with respect to liability or
12    the average amount of damages per share, if any, that would be recoverable if
13    Plaintiffs were to prevail at trial on each claim. The issues on which Plaintiffs and
14    Settling Defendant disagree include, among other things: (1) whether the challenged
15    statements were materially false or misleading or otherwise actionable under federal
16    securities law; (2) whether Settling Defendant acted with scienter and whether
17    Settling Defendant can be held liable for any of challenged statements; (3) whether
18    the alleged disclosures were corrective disclosures; (4) the causes of the loss in the
19    value of the ADSs and whether Plaintiffs can show they relied on any of the
20    challenged statements; (5) whether the Court has personal jurisdiction over Settling
21    Defendant and whether the claims in this Action should be adjudicated in another
22    forum; and (6) the amount of alleged damages, if any, that could be recovered at
23    trial.
24             This matter has not gone to trial, and the Court has not decided in favor of
25    either Plaintiffs or Settling Defendant. Instead, Plaintiffs and Settling Defendant
26    have agreed to settle the case. Plaintiffs and Co-Lead Counsel believe the Settlement
27    is best for all Settlement Class Members because of the risks associated with
28                                                  7
           NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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 1    continued litigation and the nature of the defenses raised by Settling Defendant.
 2    Among the reasons that Plaintiffs and Co-Lead Counsel believe the Settlement is fair
 3    is the fact that there is uncertainty about whether they will be able to prove that any
 4    challenged statement was false or misleading, that the alleged misstatements and
 5    omissions actually caused the Settlement Class any damages, and the amount of
 6    damages, if any.
 7          Even if Plaintiffs were to win at trial, and also prevail on any appeal, Plaintiffs
 8    might not be able to collect some, or all, of any judgment they are awarded.
 9    Moreover, litigation of this type is usually expensive, including extensive out-of-
10    pocket costs. Even if Plaintiffs won at trial, the costs incurred would substantially
11    reduce any verdict awarded.
12    5.    How do I know if I am part of the Settlement?
13          The Settlement Class consists of all persons and entities, other than
14    Defendants and their affiliates, who purchased or acquired publicly traded NMC
15    ADSs from March 13, 2016 and March 10, 2020, both dates inclusive. Excluded
16    from the Settlement Class are: (i) Defendants; (ii) current and former officers and
17    directors of NMC and the Released Parties; (iii) the persons expressly excluded from
18    the definition of Settlement Class in paragraph 1.31 of the Settlement Stipulation;
19    (iv) the respective spouses, children, or parents of any person or entity excluded
20    under subparagraphs, (i) through (iii) of this paragraph; (v) any person or entity more
21    than 5% owned or directly or indirectly controlled by any person or entity excluded
22    under subparagraphs (i) through (iv) of this paragraph or any trust of which such a
23    person is a beneficiary or of which any person or entity is related or affiliated to a
24    beneficiary or a trustee; (vi) the respective heirs, successors, trustees and assigns of
25    any person excluded under paragraphs (i) through (v); and (vii) those persons who
26    file valid and timely requests for exclusion in accordance with the Court’s Order of
27    Preliminary Approval of Settlement (“Preliminary Approval Order”).
28                                                8
           NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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 1    6.    Are there exceptions to being included?
 2          Yes. Excluded from the Settlement Class are: (i) Defendants; (ii) current and
 3    former officers and directors of NMC and the Released Parties; (iii) the persons
 4    expressly excluded from the definition of Settlement Class in paragraph 1.31 of the
 5    Settlement Stipulation (a) through (d); (iv) the respective spouses, children, or
 6    parents of any person or entity excluded under subparagraphs, (i) through (iii) of this
 7    paragraph; (v) any person or entity more than 5% owned or directly or indirectly
 8    controlled by any person or entity excluded under subparagraphs (i) through (iv) of
 9    this paragraph or any trust of which such a person is a beneficiary or of which any
10    person or entity is related or affiliated to a beneficiary or a trustee; (vi) the respective
11    heirs, successors, trustees and assigns of any person excluded under paragraphs (i)
12    through (v); and (vii) those persons who file valid and timely requests for exclusion
13    in accordance with the Court’s Preliminary Approval Order. You may choose to be
14    excluded from the Settlement Class by filing a valid and timely request for exclusion
15    as described below in the response to question 11.
16    7.    I am still not sure whether I am included.
17          If you are still not sure whether you are included, you can ask for free help.
18    For more information, you can contact the Claims Administrator, Strategic Claims
19    Services, by phone at (866) 274-4004 or by facsimile at (610) 565-7985, visit the
20    website www.strategicclaims.net/NMCHealth, or fill out and return the Proof of
21    Claim and Release Form described in Question 9, to see if you qualify.
22    8.    What does the Settlement provide?
23          a.     What is the Settlement Fund?
24          The proposed Settlement provides for Settling Defendant to pay or cause to be
25    paid three hundred thousand dollars ($300,000) into a settlement fund (“Settlement
26    Fund”). The Settlement is subject to Court approval. Also, subject to the Court’s
27    approval, a portion of the Settlement Fund will be used to pay attorneys’ fees,
28                                                 9
           NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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 1    reasonable litigation expenses, and awards to Lead Plaintiffs. A portion of the
 2    Settlement Fund also will be used to pay taxes due on interest earned by the
 3    Settlement Fund, if necessary, and the costs of the claims administration, including
 4    the costs of printing and mailing and/or emailing notice and the costs of publishing
 5    notice. After the foregoing deductions from the Settlement Fund have been made, the
 6    amount remaining (“Net Settlement Fund”) will be distributed to Settlement Class
 7    Members who submit timely, valid claims, according to the Plan of Allocation to be
 8    approved by the Court.
 9          Co-Lead Counsel, which did not seek fees from the Tompkins Settlement,
10    may seek fees of up to one-third of the Settlement Amount, and reimbursement for
11    their actual litigation expenses to date in an amount not to exceed $10,000. Co-Lead
12    Counsel may also seek an award for Lead Plaintiffs not to exceed $3,000 each.
13                  b.   What can you expect to receive under the proposed
14    Settlement?
15          Your share of the Net Settlement Fund will or may depend on: (i) the number
16    of claims filed by all Settlement Class Members; (ii) the dates you purchased and
17    sold NMC ADSs; (iii) the prices of your purchases and sales; (iv) the amount of
18    administrative costs, including the costs of notice; and (v) the amount awarded by
19    the Court to Co-Lead Counsel for attorneys’ fees, costs, and expenses and the
20    amounts awarded to the Lead Plaintiff.
21          The Net Settlement Fund will be distributed to Settlement Class Members who
22    submit a Proof of Claim and Release Form and whose claims for recovery are
23    allowed by the Claims Administrator pursuant to the terms of the Settlement
24    Stipulation or by order of the Court under the below Plan of Allocation (“Authorized
25    Claimants”), which reflects Plaintiffs’ contention that because of the alleged
26    misrepresentations made by Defendants, the price of NMC ADSs was artificially
27    inflated during the relevant period and that certain subsequent disclosures caused
28                                              10
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 1    changes in the inflated price of NMC ADSs. Settling Defendant has denied and
 2    continue to deny these allegations and any and all allegations of wrongdoing, fault,
 3    liability or damage whatsoever asserted in the Action.
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 1                          PROPOSED PLAN OF ALLOCATION
 2            The $300,000.00 Settlement Amount, together with any interest earned thereon
 3    and/or proceeds thereof shall be the Settlement Fund. The Settlement Fund, less taxes,
 4    and approved costs and expenses (the “Net Settlement Fund”) shall be distributed to
 5    members of the Settlement Class who submit valid Proofs of Claims (“Authorized
 6    Claimants”).
 7            The Claims Administrator shall determine each Authorized Claimant’s pro rata
 8    share of the Net Settlement Fund based upon each Authorized Claimant’s “Recognized
 9    Loss.” The Recognized Loss formula is not intended to be an estimate of the amount
10    of what a Settlement Class Member lost or might have been able to recover after a
11    trial; nor is it an estimate of the amount that will be paid to Authorized Claimants
12    pursuant to the Settlement. The Recognized Loss formula is simply the basis upon
13    which the Net Settlement Fund will be proportionately allocated to Authorized
14    Claimants.
15            The proposed Plan of Allocation incorporates the damage limitation under the
16    Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4(e), as well as the
17    principles articulated by the Supreme Court in Dura Pharmaceuticals, Inc. v. Broudo,
18    544 U.S. 336 (2005). For purposes of this Settlement, Recognized Loss shall be
19    calculated as follows:
20            1.     There is no Recognized Loss for any ADSs purchased before March 13,
21    2016.
22            2.     For ADSs purchased on or between March 13, 2016 and December 16,
23    2019, and
24                   (a)   sold on or before December 16, 2019, the Recognized Loss per
25                         ADS is $0.00.
26                   (b)   sold on or between December 17, 2019 and January 7, 2020, the
27                         Recognized Loss per ADS is the lesser of:
28                                              12
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 1                      i.     $11.68; or
 2                      ii.    the purchase price minus the sale price (excluding all fees,
 3                             taxes, and commissions). If this calculation results in a
 4                             negative number, then the Recognized Loss is $0.00.
 5                (c)   sold on or between January 8, 2020 and February 13, 2020, the
 6                      Recognized Loss per ADS is the lesser of:
 7                      i.     $18.16; or
 8                      ii.    the purchase price minus the sale price (excluding all fees,
 9                             taxes, and commissions). If this calculation results in a
10                             negative number, then the Recognized Loss is $0.00.
11                (d)   sold on or between February 14, 2020 and February 18, 2020, the
12                      Recognized Loss per ADS is the lesser of:
13                      i.     $18.70; or
14                      ii.    the purchase price minus the sale price (excluding all fees,
15                             taxes, and commissions). If this calculation results in a
16                             negative number, then the Recognized Loss is $0.00.
17                (e)   sold on or between February 19, 2020 and February 23, 2020, the
18                      Recognized Loss per ADS is the lesser of:
19                      i.     $19.44; or
20                      ii.    the purchase price minus the sale price (excluding all fees,
21                             taxes, and commissions). If this calculation results in a
22                             negative number, then the Recognized Loss is $0.00.
23                (f)   sold on or between February 24, 2020 and March 9, 2020, the
24                      Recognized Loss per ADS is the lesser of:
25                      i.     $20.10; or
26

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28                                             13
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 1                      ii.    the purchase price minus the sale price (excluding all fees,
 2                             taxes, and commissions). If this calculation results in a
 3                             negative number, then the Recognized Loss is $0.00.
 4                (g)   sold on or between March 10, 2020 and June 8, 2020, the
 5                      Recognized Loss per ADS is the lesser of:
 6                      i.     $23.38;
 7                      ii.    the purchase price minus the sale price (excluding all fees,
 8                             taxes, and commissions). If this calculation results in a
 9                             negative number, then the Recognized Loss is $0.00; or
10                      iii.   the purchase price minus the “90-Day Lookback Value” on
11                             the date of sale/disposition provided in Table 1 below. If
12                             this calculation results in a negative number, then the
13                             Recognized Loss per ADS is $0.00.
14                (h)   that were still held as of the close of trading on June 8, 2020, the
15                      Recognized Loss per share is the lesser of:
16                      i.     $23.38;
17                      ii.    the purchase price (excluding all fees, taxes, and
18                             commissions) minus the average closing price of the shares
19                             during the 90-day period following the Class Period, which
20                             is $1.07. If this calculation results in a negative number,
21                             then the Recognized Loss per ADS is $0.00.
22          3.    For ADSs purchased on or between December 17, 2019 and January 7,
23    2020, and
24                (a)   sold on or before January 7, 2020, the Recognized Loss per ADS
25                      is $0.00.
26                (b)   sold on or between January 8, 2020 and February 13, 2020, the
27                      Recognized Loss per ADS is the lesser of:
28                                             14
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 1                      i.     $6.48; or
 2                      ii.    the purchase price minus the sale price (excluding all fees,
 3                             taxes, and commissions). If this calculation results in a
 4                             negative number, then the Recognized Loss is $0.00.
 5                (c)   sold on or between February 14, 2020 and February 18, 2020, the
 6                      Recognized Loss per ADS is the lesser of:
 7                      i.     $7.02; or
 8                      ii.    the purchase price minus the sale price (excluding all fees,
 9                             taxes, and commissions). If this calculation results in a
10                             negative number, then the Recognized Loss is $0.00.
11                (d)   sold on or between February 19, 2020 and February 23, 2020, the
12                      Recognized Loss per ADS is the lesser of:
13                      i.     $7.76; or
14                      ii.    the purchase price minus the sale price (excluding all fees,
15                             taxes, and commissions). If this calculation results in a
16                             negative number, then the Recognized Loss is $0.00.
17                (e)   sold on or between February 24, 2020 and March 9, 2020, the
18                      Recognized Loss per ADS is the lesser of:
19                      i.     $8.42; or
20                      ii.    the purchase price minus the sale price (excluding all fees,
21                             taxes, and commissions). If this calculation results in a
22                             negative number, then the Recognized Loss is $0.00.
23                (f)   sold on or between March 10, 2020 and June 8, 2020, the
24                      Recognized Loss per share is the lesser of:
25                      i.     $11.70;
26

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28                                             15
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 1                      ii.    the purchase price minus the sale price (excluding all fees,
 2                             taxes, and commissions). If this calculation results in a
 3                             negative number, then the Recognized Loss is $0.00; or
 4                      iii.   the purchase price minus the “90-Day Lookback Value” on
 5                             the date of sale/disposition provided in Table 1 below. If
 6                             this calculation results in a negative number, then the
 7                             Recognized Loss per share is $0.00.
 8                (g)   that were still held as of the close of trading on June 8, 2020, the
 9                      Recognized Loss per share is the lesser of:
10                      i.     $11.70;
11                      ii.    the purchase price (excluding all fees, taxes, and
12                             commissions) minus the average closing price of the shares
13                             during the 90-day period following the Class Period, which
14                             is $1.07. If this calculation results in a negative number,
15                             then the Recognized Loss per share is $0.00.
16          4.    For ADSs purchased on or between January 8, 2020 and February 13,
17    2020, and
18                (a)   sold on or before February 13, 2020, the Recognized Loss per ADS
19                      is $0.00.
20                (b)   sold on or between February 14, 2020 and February 18, 2020, the
21                      Recognized Loss per ADS is the lesser of:
22                      i.     $0.54; or
23                      ii.    the purchase price minus the sale price (excluding all fees,
24                             taxes, and commissions). If this calculation results in a
25                             negative number, then the Recognized Loss is $0.00.
26                (c)   sold on or between February 19, 2020 and February 23, 2020, the
27                      Recognized Loss per ADS is the lesser of:
28                                             16
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 1                      i.     $1.28; or
 2                      ii.    the purchase price minus the sale price (excluding all fees,
 3                             taxes, and commissions). If this calculation results in a
 4                             negative number, then the Recognized Loss is $0.00.
 5                (d)   sold on or between February 24, 2020 and March 9, 2020, the
 6                      Recognized Loss per ADS is the lesser of:
 7                      i.     $1.94; or
 8                      ii.    the purchase price minus the sale price (excluding all fees,
 9                             taxes, and commissions). If this calculation results in a
10                             negative number, then the Recognized Loss is $0.00.
11                (e)   sold on or between March 10, 2020 and June 8, 2020, the
12                      Recognized Loss per ADS is the lesser of:
13                      i.     $5.22;
14                      ii.    the purchase price minus the sale price (excluding all fees,
15                             taxes, and commissions). If this calculation results in a
16                             negative number, then the Recognized Loss is $0.00; or
17                      iii.   the purchase price minus the “90-Day Lookback Value” on
18                             the date of sale/disposition provided in Table 1 below. If
19                             this calculation results in a negative number, then the
20                             Recognized Loss per share is $0.00.
21                (f)   that were still held as of the close of trading on June 8, 2020, the
22                      Recognized Loss per share is the lesser of:
23                      i.     $5.22;
24                      ii.    the purchase price (excluding all fees, taxes, and
25                             commissions) minus the average closing price of the ADSs
26                             during the 90-day period following the Class Period, which
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28                                             17
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 1                             is $1.07. If this calculation results in a negative number,
 2                             then the Recognized Loss per share is $0.00.
 3          5.    For ADSs purchased on or between February 14, 2020 and February 18,
 4    2020, and
 5                (a)   sold on or before February 18, 2020, the Recognized Loss per ADS
 6                      is $0.00.
 7                (b)   sold on or between February 19, 2020 and February 23, 2020, the
 8                      Recognized Loss per ADS is the lesser of:
 9                      i.     $0.74; or
10                      ii.    the purchase price minus the sale price (excluding all fees,
11                             taxes, and commissions). If this calculation results in a
12                             negative number, then the Recognized Loss is $0.00.
13                (c)   sold on or between February 24, 2020 and March 9, 2020, the
14                      Recognized Loss per ADS is the lesser of:
15                      i.     $1.40; or
16                      ii.    the purchase price minus the sale price (excluding all fees,
17                             taxes, and commissions). If this calculation results in a
18                             negative number, then the Recognized Loss is $0.00.
19                (d)   sold on or between March 10, 2020 and June 8, 2020, the
20                      Recognized Loss per share is the lesser of:
21                      i.     $4.68;
22                      ii.    the purchase price minus the sale price (excluding all fees,
23                             taxes, and commissions). If this calculation results in a
24                             negative number, then the Recognized Loss is $0.00; or
25                      iii.   the purchase price minus the “90-Day Lookback Value” on
26                             the date of sale/disposition provided in Table 1 below. If
27

28                                             18
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 1                             this calculation results in a negative number, then the
 2                             Recognized Loss per share is $0.00.
 3                (e)   that were still held as of the close of trading on June 8, 2020, the
 4                      Recognized Loss per share is the lesser of:
 5                      i.     $4.68;
 6                      ii.    the purchase price (excluding all fees, taxes, and
 7                             commissions) minus the average closing price of the shares
 8                             during the 90-day period following the Class Period, which
 9                             is $1.07. If this calculation results in a negative number,
10                             then the Recognized Loss per share is $0.00.
11          6.    For ADSs purchased on or between February 19, 2020 and February 23,
12    2020, and
13                (a)   sold on or before February 23, 2020, the Recognized Loss per ADS
14                      is $0.00.
15                (b)   sold on or between February 24, 2020 and March 9, 2020, the
16                      Recognized Loss per ADS is the lesser of:
17                      i.     $0.66; or
18                      ii.    the purchase price minus the sale price (excluding all fees,
19                             taxes, and commissions). If this calculation results in a
20                             negative number, then the Recognized Loss is $0.00.
21                (c)   sold on or between March 10, 2020 and June 8, 2020, the
22                      Recognized Loss per share is the lesser of:
23                      i.     $3.94;
24                      ii.    the purchase price minus the sale price (excluding all fees,
25                             taxes, and commissions). If this calculation results in a
26                             negative number, then the Recognized Loss is $0.00; or
27

28                                             19
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 1                      iii.     the purchase price minus the “90-Day Lookback Value” on
 2                               the date of sale/disposition provided in Table 1 below. If
 3                               this calculation results in a negative number, then the
 4                               Recognized Loss per share is $0.00.
 5                (d)   that were still held as of the close of trading on June 8, 2020, the
 6                      Recognized Loss per share is the lesser of:
 7                      i.       $3.94;
 8                      ii.      the purchase price (excluding all fees, taxes, and
 9                               commissions) minus the average closing price of the shares
10                               during the 90-day period following the Class Period, which
11                               is $1.07. If this calculation results in a negative number,
12                               then the Recognized Loss per share is $0.00.
13          7.    For ADSs purchased on or between February 24, 2020 and March 9,
14    2020, and
15                (a)   sold on or before March 9, 2020, the Recognized Loss per ADS is
16                      $0.00.
17                (b)   sold on or between March 10, 2020 and June 8, 2020, the
18                      Recognized Loss per share is the lesser of:
19                      i.       $3.28;
20                      ii.      the purchase price minus the sale price (excluding all fees,
21                               taxes, and commissions). If this calculation results in a
22                               negative number, then the Recognized Loss is $0.00; or
23                      iii.     the purchase price minus the “90-Day Lookback Value” on
24                               the date of sale/disposition provided in Table 1 below. If
25                               this calculation results in a negative number, then the
26                               Recognized Loss per share is $0.00.
27

28                                               20
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 1                   (c)      that were still held as of the close of trading on June 8, 2020, the
 2                            Recognized Loss per share is the lesser of:
 3                            i.      $3.28;
 4                            ii.     the purchase price (excluding all fees, taxes, and
 5                                    commissions) minus the average closing price of the shares
 6                                    during the 90-day period following the Class Period, which
 7                                    is $1.07. If this calculation results in a negative number,
 8                                    then the Recognized Loss per share is $0.00.
 9

10                                               Table 1
                                         90-Day Lookback Period
11        Sale/             90-Day           Sale/            90-Day       Sale/       90-Day
       Disposition         Lookback       Disposition        Lookback   Disposition   Lookback
12        Date               Value           Date              Value       Date         Value
13     3/10/2020            $1.85          4/8/2020           $1.68     5/8/2020       $1.36
14     3/11/2020            $2.02          4/9/2020           $1.64     5/11/2020      $1.35

15     3/12/2020            $1.81          4/13/2020          $1.64     5/12/2020      $1.33
       3/13/2020            $1.86          4/14/2020          $1.76     5/13/2020      $1.31
16
       3/16/2020            $2.19          4/15/2020          $1.90     5/14/2020      $1.29
17
       3/17/2020            $2.82          4/16/2020          $1.92     5/15/2020      $1.28
18
       3/18/2020            $2.81          4/17/2020          $1.89     5/18/2020      $1.26
19
       3/19/2020            $2.68          4/20/2020          $1.85     5/19/2020      $1.25
20
       3/20/2020            $2.52          4/21/2020          $1.80     5/20/2020      $1.23
21
       3/23/2020            $2.37          4/22/2020          $1.74     5/21/2020      $1.21
22
       3/24/2020            $2.25          4/23/2020          $1.69     5/22/2020      $1.20
23     3/25/2020            $2.17          4/24/2020          $1.65     5/26/2020      $1.19
24     3/26/2020            $2.09          4/27/2020          $1.63     5/27/2020      $1.17
25     3/27/2020            $2.02          4/28/2020          $1.60     5/28/2020      $1.16
26     3/30/2020            $1.98          4/29/2020          $1.57     5/29/2020      $1.15
27     3/31/2020            $1.93          4/30/2020          $1.53     6/1/2020       $1.13
28                                                      21
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 1      4/1/2020       $1.88         5/1/2020        $1.50          6/2/2020       $1.12
        4/2/2020       $1.84         5/4/2020        $1.47          6/3/2020       $1.10
 2
        4/3/2020       $1.80         5/5/2020        $1.44          6/4/2020       $1.09
 3
        4/6/2020       $1.76         5/6/2020        $1.41          6/5/2020       $1.08
 4
        4/7/2020       $1.72         5/7/2020        $1.38          6/8/2020       $1.07
 5

 6    General Provisions:

 7
            1. There shall be no Recognized Loss for any NMC securities other than ADSs.

 8
            2. The “trade” date and not the “settlement” date shall be considered the date

 9
      of purchase or sale.

10
            3. First-in, first-out basis (“FIFO”) will be applied to both purchases and sales.

11
            4. ADSs originally sold short will have no Recognized Loss.

12
            5. ADSs acquired by conversion of convertible notes that were purchased before

13
      the Class Period shall have no Recognized Loss. ADSs acquired by conversion of

14
      convertible notes that were purchased during the Class Period shall be considered to

15
      be purchased as of the date of conversion, and the conversion price shall be considered

16
      the purchase price.

17
            6. No cash payment will be made on a claim where the potential distribution

18
      amount is less than $10. Please be advised that if you do not opt out of the Settlement

19
      you will be bound by all determinations and judgments of the Court in connection with

20
      the Settlement, including being barred from asserting any of the Released Claims

21
      against the Released Parties, whether or not you are entitled to a cash payment.

22
            7. The Court has reserved jurisdiction to allow, disallow or adjust the claim of

23
      any Settlement Class Member on equitable grounds.

24
            8. No Person shall have any claim against Co-Lead Counsel, the Claims

25
      Administrator or other agent designated by Co-Lead Counsel, or Settling Defendant

26
      or any of Settling Defendant’s Counsel based on the distribution made substantially in

27

28                                              22
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 1    accordance with the Stipulation and this Plan of Allocation, or further orders of the
 2    Court.
 3             9. Settlement Class Members who do not submit valid a Proof of Claim and
 4    Release Form will not share in the Net Settlement Fund. Settlement Class Members
 5    who do not either submit a Request for Exclusion or submit a valid Proof of Claim and
 6    Release Form will nevertheless be bound by the Settlement and the Order and Partial
 7    Final Judgment of the Court dismissing this Action.
 8    9.       How can I get a payment?
 9             To qualify for a payment, you must send in a form titled “Proof of Claim and
10    Release Form.” This Proof of Claim and Release Form is attached to this Notice.
11    You may also obtain a Proof of Claim and Release Form at
12    www.strategicclaims.net/NMCHealth. Read the instructions carefully, fill out the
13    form, sign it in the location indicated. The Proof of Claim and Release Form may be
14    completed in two ways: (1) by completing and submitting it electronically at
15    www.strategicclaim.net/NMCHealth by 11:59 p.m. EST on ______ __, 2022; or (2)
16    by mailing the claim form together with all documentation requested in the form,
17    postmarked no later than ________ __, 2022, to:
18

19
               NMC Health PLC Securities Litigation
               c/o Strategic Claims Services
20             P.O. Box 230
21             600 N. Jackson St., Ste. 205
               Media, PA 19063
22             Fax: (610) 565-7985
23             info@strategicclaims.net

24
               The Claims Administrator will process your claim and determine whether you
25
      are an Authorized Claimant.
26

27

28                                               23
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 1    10.    What am I giving up to get a payment or stay in the Settlement Class?
 2           Unless you exclude yourself from the Settlement Class by the ______ ___,
 3    2022 deadline, you will remain a member of the Settlement Class and will be bound
 4    by the release of claims against Settling Defendant and other Released Parties if the
 5    Settlement is approved. That means you and all other Settlement Class Members and
 6    each of their respective parent entities, associates, affiliates, subsidiaries,
 7    predecessors, successors, assigns, attorneys, immediate family members, heirs,
 8    representatives, administrators, executors, devisees, legatees, and estates will release
 9    (agreeing never to sue, continue to sue, or be part of any other lawsuit) as against
10    Settling Defendant and other Released Parties any and all claims which arise out of,
11    are based upon or relate in any way to the purchase, acquisition, or sale of NMC
12    ADSs during the Class Period. It means that all of the Court’s orders will apply to
13    you and legally bind you. That means you will accept a share of the Net Settlement
14    Fund as sole compensation for any losses you suffered in the purchase, acquisitions,
15    sale or ownership of NMC ADSs during the Class Period. The specific terms of the
16    release are included in the Settlement Stipulation.
17    11.    How do I get out of the Settlement?
18           If you do not want to receive a payment from this Settlement, and you want to
19    keep any right you may have to sue or continue to sue Settling Defendant or other
20    Released Parties on your own about the claims being released in this Settlement, then
21    you must take steps to exclude yourself from the Settlement. To exclude yourself
22    from the Settlement, you must mail a letter that (A) clearly indicates your name,
23    address, phone number and e-mail contact information (if any) and states that you
24    “request to be excluded from the Settlement Class in Hashem v. NMC Health PLC,
25    et al., Case No. 2:20-cv-02303-CBM-MAA (C.D. Cal.) and Shengming Huang v.
26    NMC Health PLC, et al., Case No. 2:20-cv-02895-CBM-MAA (C.D. Cal)” and (B)
27    states the date, number of shares and dollar amount of each NMC ADS purchase or
28                                                 24
            NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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 1    acquisition during the Class Period, any sale transactions, and the number of NMC
 2    ADSs held by you as of March 13, 2016 and March 10, 2020. In order to be valid,
 3    such request for exclusion must be submitted with documentary proof: (i) of each
 4    purchase and, if applicable, sale transaction of NMC ADSs during the Class Period;
 5    and (ii) demonstrating your status as a beneficial owner of the NMC ADSs. Any
 6    such request for exclusion must be signed and submitted by you, as the beneficial
 7    owner, under penalty of perjury. You must mail your exclusion request, to be
 8    received no later than _____ __, 2022, to the Claims Administrator at the following
 9    address:
10

11
             NMC Health PLC Securities Litigation
             c/o Strategic Claims Services
12           P.O. Box 230
13           600 N. Jackson St., Ste. 205
             Media, PA 19063
14

15
             You cannot exclude yourself by telephone or by e-mail.
16
             If you properly exclude yourself, you will not receive a payment from the Net
17
      Settlement Fund, you cannot object to the Settlement, and you will not be legally
18
      bound by the Partial Final Judgment in this case.
19
      12.    If I do not exclude myself, can I sue Settling Defendant or the other
20
             Released Parties for the same thing later?
21
             No. Unless you followed the procedure outlined in the Notice to exclude
22
      yourself, you give up any right to sue Settling Defendant or other Released Parties
23
      for the claims being released in this Settlement. If you have a pending lawsuit related
24
      to any Released Claims, speak to your lawyer in that case immediately, since you
25
      must exclude yourself from this Settlement Class to continue your own lawsuit.
26
      13.    Do I have a lawyer in this case?
27

28                                              25
            NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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 1           The Court appointed Pomerantz LLP and The Rosen Law Firm, P.A. as Co-
 2    Lead Counsel to represent you and the other Settlement Class Members. If you want
 3    to be represented by your own lawyer, you may hire one at your own expense.
 4    Contact information for Pomerantz LLP and The Rosen Law Firm, P.A. is provided
 5    below.
 6    14.    How will the lawyers be paid?
 7           Co-Lead Counsel has expended considerable time litigating this Action on a
 8    contingent fee basis and have paid for the expenses of the cases themselves. They
 9    have not been paid attorneys’ fees or reimbursed for their expenses in advance of this
10    Settlement. Co-Lead Counsel have done so with the expectation that, if they are
11    successful in recovering money for the Settlement Class, they will receive attorneys’
12    fees and be reimbursed for their litigation expenses from the Settlement Fund, as is
13    customary in this type of litigation. Co-Lead Counsel will seek a fee of no more than
14    one-third of the Settlement Amount, and will request reimbursement of out-of-pocket
15    litigation expenses not to exceed $10,000. Co-Lead Counsel also may seek a
16    compensatory award for Lead Plaintiffs of no more than $3,000 each.
17    15.    How do I tell the Court that I do not like the Settlement?
18           You can tell the Court you do not agree with the Settlement, any part of the
19    Settlement, and/or to Co-Lead Counsel’s motion for expenses and application for
20    Awards to Lead Plaintiffs, and that you think the Court should not approve the
21    Settlement, by mailing a letter stating that you object to the Settlement in the matter
22    of Hashem v. NMC Health PLC, et al., Case No. 2:20-cv-02303-CBM-MAA (C.D.
23    Cal.) and Shengming Huang v. NMC Health PLC, et al., Case No. 2:20-cv-02895-
24    CBM-MAA (C.D. Cal). Be sure to include: (1) your name, address, and telephone
25    number; (2) a list of all purchases and sales of NMC ADSs during the Class Period
26    in order to show membership in the Settlement Class; (3) all grounds for the
27    objection, including any legal support known to you or your counsel; (4) the name,
28                                               26
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 1    address and telephone number of all counsel, if any, who represent you, including
 2    your former or current counsel who may be entitled to compensation in connection
 3    with the objection; and (5) the number of times you and/or your counsel has filed an
 4    objection to a class action settlement in the last five years, the nature of each such
 5    objection in each case, the jurisdiction in each case, and the name of the issuer of the
 6    security or seller of the product or service at issue in each case. Attendance at the
 7    Settlement Hearing is not necessary. Objectors wishing to be heard orally at the
 8    Settlement Hearing are required to indicate in their written objection (or in a separate
 9    writing that is submitted in accordance with the deadline and after instruction
10    pertinent to the submission of a written objection) that they intend to appear at the
11    Settlement Hearing and identify any witnesses they may call to testify or exhibits
12    they intend to introduce into evidence at the Settlement Hearing. Be sure to serve
13    copies of any objections, papers and briefs to each of the addresses listed below, to
14    be received no later than _________ __, 2022:
15     Clerk of the Court     CO-LEAD COUNSEL:                     COUNSEL FOR
       United States District                                      SETTLING
16     Court                  POMERANTZ LLP                        DEFENDANT
17     Central District of Joshua Silverman, Esq.
       California             10 South La Salle Street, Suite      MEISTER SEELIG &
18     350 W. 1st Street,     3505                                 FEIN LLP
19     Los Angeles,           Chicago, Illinois 60603              Alexander D. Pencu, Esq.
       California 90012       Telephone: (312) 377-1181            125 Park Avenue, 7th
20                            Facsimile: (312) 377-1184            Floor
21                                                                 New York, NY 10017
                                                                   Telephone: (212) 655-
22                                                                 3500
23                                                                 Fax: (646) 539-3649

24                             THE ROSEN LAW FIRM,
25                             P.A.
                               Phillip Kim, Esq.
26                             275 Madison Avenue, 40th
27                             Floor
                               New York, New York 10016
28                                               27
          NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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 1                             Telephone: (212) 686-1060
                               Fax: (212) 202-3827
 2

 3    16.    What is the difference between objecting and requesting exclusion?
 4           Objecting is simply telling the Court you do not like something about the
 5    Settlement or some portion thereof. You can object only if you stay in the Settlement
 6    Class. Requesting exclusion is telling the Court you do not want to be part of the
 7    Settlement Class and Settlement. If you exclude yourself, you cannot object to the
 8    Settlement because it no longer concerns you. If you stay in the Settlement Class and
 9    object, but your objection is overruled, you will not be allowed a second opportunity
10    to exclude yourself.
11    17.    When and where will the Court decide whether to approve the Settlement?
12           The Court will hold a Settlement Hearing on _____ __, 2022, at __:__ _a.m.,
13    at the United States District Court, Central District of California, First Street
14    Courthouse, 350 W. 1st Street, Courtroom # 8B, 8th Floor, Los Angeles, California
15    90012.
16           At this hearing, the Court will consider whether the Settlement is fair,
17    reasonable, and adequate and whether to approve the Settlement. If there are
18    objections, the Court will consider them, and the Court will listen to people who
19    have asked to speak at the hearing.
20    18.    Do I have to come to the hearing?
21           No. Co-Lead Counsel will answer any questions the Court may have.
22    However, you are welcome to attend at your own expense. If you send an objection,
23    you do not have to come to Court to talk about it. As long as you mail your written
24    objection on time, the Court will consider it.
25    19.    What happens if I do nothing at all?
26           If you do nothing, you will not receive a payment from the Settlement.
27    However, unless you exclude yourself, you will not be able to start a lawsuit,
28                                                28
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 1    continue with a lawsuit, or be part of any other lawsuit against Settling Defendant or
 2    the Released Parties about the Released Claims (as defined in the Settlement
 3    Stipulation) ever again.
 4

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          NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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 1          SPECIAL NOTICE TO BROKERS AND OTHER NOMINEES
 2                 If, between March 13, 2016 and March 10, 2020, inclusive, you
 3    purchased or otherwise acquired NMC Health PLC ADSs for the beneficial interest
 4    of a person or organization other than yourself, the Court has directed that, WITHIN
 5    TEN (10) DAYS OF YOUR RECEIPT OF NOTICE, you either: (a) provide to the
 6    Claims Administrator the name, email address, and last known address of each
 7    person or organization for whom or which you purchased such NMC ADSs during
 8    such time period; (b) request additional copies of the Postcard Notice, which will be
 9    provided to you free of charge, and within ten (10) days mail the Postcard Notice
10    directly to the beneficial owners of the NMC ADSs; or (c) request an electronic link
11    of this Notice and Proof of Claim and Release Form (“Notice and Claim Link”), and
12    within ten (10) calendar days after receipt thereof, email the Notice and Claim Link
13    to such beneficial owners for whom valid email addresses are available. If you
14    choose to follow alternative procedure (b) or (c), the Court has directed that, upon
15    such mailing, you send a statement to the Claims Administrator confirming that the
16    mailing was made as directed. You are entitled to reimbursement from the
17    Settlement Fund of your reasonable out-of-pocket expenses actually incurred in
18    connection with the foregoing up to $0.05 for providing names, addresses and email
19    addresses to the Claims Administrator; up to a maximum of $0.05 per Postcard
20    Notice mailed by you, plus postage at the rate used by the Claims Administrator; or
21    up to $0.05 per notice sent by email. Those expenses will be paid upon request and
22    submission of appropriate supporting documentation. All communications regarding
23    the foregoing should be addressed to the Claims Administrator at the address listed
24    on page 3 above.
25    DATED:                          __________________________________________
26
                                      BY ORDER OF THE UNITED STATES DISTRICT
                                      COURT FOR THE CENTRAL DISTRICT OF
27                                    CALIFORNIA
28                                              30
          NOTICE OF PENDENCY AND PROPOSED PARTIAL SETTLEMENT OF CLASS ACTION, Case No.
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                      EXHIBIT A-2
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  Exhibit A-2




                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA


  CHRIS HASHEM, individually and                       Case No.: 2:20-cv-02303-CBM-MAA
  on behalf of all others similarly situated,
                                                       (Consolidated with Case No. 2:20-cv-
                                 Plaintiff,            02895-CBM-MAA)

                 vs.                                   SUMMARY NOTICE OF PENDENCY AND
                                                       PROPOSED PARTIAL SETTLEMENT OF
  NMC HEALTH PLC, PRASANTH                             CLASS ACTION
  MANGHAT, KHALIFA BIN BUTTI,
  PRASHANTH SHENOY, H.J. MARK                           [Honorable Consuelo B. Marshall]
  TOMPKINS, and B.R. SHETTY,

                                 Defendants.


  TO:    ALL PERSONS WHO PURCHASED OR ACQUIRED NMC HEALTH PLC
         (“NMC”) AMERICAN DEPOSITARY SHARES (“ADSs”) BETWEEN MARCH 13,
         2016 AND MARCH 10, 2020, BOTH DATES INCLUSIVE

  THIS NOTICE WAS AUTHORIZED BY THE COURT. IT IS NOT A LAWYER
  SOLICITATION. PLEASE READ THIS SUMMARY NOTICE CAREFULLY AND IN
  ITS ENTIRETY.        PLEASE REVIEW THE NOTICE POSTED AT
  WWW.STRATEGICCLAIMS.NET/NMCHEALTH FOR ADDITIONAL DETAILS AND
  INSTRUCTIONS.

         YOU ARE HEREBY NOTIFIED that a hearing will be held in the above-captioned action
  (the “Action”) on _______, 202___, at _:__ _.m., before the Honorable Consuelo B. Marshall in

  Courtroom 8B of the United States District Court for the Central District of California, 350 West

  1st Street, Los Angeles, California 90012, to determine: (1) whether the proposed Settlement of

  the Settlement Class’s claims against Defendant B.R. Shetty (“Dr. Shetty”) for $300,000 should

  be approved as fair, reasonable and adequate; (2) whether the proposed Plan of Allocation is fair,

  just, reasonable, and adequate; (3) whether the Court should permanently bar and enjoin the

  assertion of any claims against the Released Parties that arise from or relate to the subject matter

  of the Action; (4) whether the Action should be dismissed with prejudice against Dr. Shetty as set

  forth in the Settlement Stipulation filed with the Court; and (5) whether the application by Co-


                                                   1
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  Exhibit A-2


  Lead Counsel for attorneys’ fees, reimbursement of reasonable expenses, and compensatory award

  to Lead Plaintiffs should be approved. At the Court’s discretion, the Final Approval Hearing may

  be telephonic, in which case call-in details will be displayed by the Claims Administrator at its

  website: www.strategicclaims.net.

         IF YOU PURCHASED OR OTHERWISE ACQUIRED NMC ADSs FROM MARCH 13,

  2016 TO MARCH 10, 2020, BOTH DATES INCLUSIVE, YOUR RIGHTS MAY BE

  AFFECTED BY THE SETTLEMENT OF THIS ACTION.

         To share in the distribution of the Net Settlement Fund, you must establish your rights by

  submitting a Proof of Claim, postmarked or delivered to the Settlement Administrator no later than

  _____, 202__. Your failure to submit your Proof of Claim by ______, 202__, will subject your

  claim to rejection and preclude your receiving any of the recovery in connection with the

  Settlement of the Action. If you are a member of the Settlement Class and do not request exclusion,

  you will be bound by the Settlement and any judgment and release entered in the Action, including,

  but not limited to, the Judgments, whether or not you submit a Proof of Claim.

         Copies of the Notice, which more completely describes the Settlement and your rights

  thereunder (including your right to object to the Settlement or exclude yourself from the

  Settlement), a Proof of Claim form, and the Settlement Stipulation (which, among other things,

  contains definitions for the defined terms used in this Summary Notice) may be obtained online at

  www.strategicclaims.net, or by writing to:


                              NMC Health PLC Securities Litigation
                                  c/o Strategic Claims Services
                                          P.O. Box 230
                                600 N. Jackson Street, Suite 205
                      Media, Pennsylvania 19063 Telephone: 1-866-274-4004
                                    info@strategicclaims.net


         Inquiries should NOT be directed to Defendants, the Courts, or the Clerks of the Courts.

  Inquiries may also be made to a representative of Co-Lead Counsel:



                                                  2
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  Exhibit A-2



                               Joshua B. Silverman, Esq.
                               POMERANTZ LLP
                               10 S. LaSalle St., Ste. 3505
                               Chicago, IL 60603
                               Telephone: (312) 377-1181

                               Phillip Kim, Esq.
                               THE ROSEN LAW FIRM, P.A.
                               275 Madison Ave., 34th Fl.
                               New York, NY 10016
                               Telephone: (212) 686-1060

                               Co-Lead Counsel

       IF YOU DESIRE TO BE EXCLUDED FROM THE SETTLEMENT CLASS, YOU
  MUST SUBMIT A REQUEST FOR EXCLUSION SUCH THAT IT IS POSTMARKED NO
  LATER THAN ____________, 202__, IN THE MANNER AND FORM EXPLAINED IN THE
  NOTICE. ALL MEMBERS OF THE SETTLEMENT CLASS WHO HAVE NOT REQUESTED
  EXCLUSION FROM THE SETTLEMENT CLASS WILL BE BOUND BY THE JUDGMENTS
  ENTERED IN THE ACTION EVEN IF THEY DO NOT FILE A TIMELY PROOF OF CLAIM.

        IF YOU ARE A SETTLEMENT CLASS MEMBER, YOU HAVE THE RIGHT TO
  OBJECT TO THE SETTLEMENT, THE PLAN OF ALLOCATION, AND/OR THE REQUEST
  BY CO-LEAD COUNSEL FOR AN AWARD OF EXPENSES. ANY OBJECTIONS MAY BE
  FILED WITH EITHER COURT AND MUST BE SENT TO CO-LEAD COUNSEL BY
  _____________, 202__, IN THE MANNER AND FORM EXPLAINED IN THE NOTICE.

  DATED: ___________________
                                             BY ORDER OF THE UNITED STATES
                                             DISTRICT COURT FOR THE
                                             CENTRAL DISTRICT OF CALIFORNIA
                                             HONORABLE CONSUELO B. MARSHALL




                                         3
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                      EXHIBIT A-3
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                                                                 EXHIBIT A-3


                        PROOF OF CLAIM AND RELEASE FORM

  Deadline for Submission: _____________________

  IF YOU PURCHASED OR ACQUIRED NMC HEALTH PLC’S (“NMC” OR THE
  “COMPANY”) AMERICAN DEPOSITARY SHARES (“ADSs”) BETWEEN MARCH 13, 2016
  AND MARCH 10, 2020, BOTH DATES INCLUSIVE (“SETTLEMENT CLASS PERIOD”)
  AND WERE ALLEGEDLY DAMAGED THEREBY, YOU ARE A “SETTLEMENT CLASS
  MEMBER” AND YOU MAY BE ENTITLED TO SHARE IN THE SETTLEMENT
  PROCEEDS.

  THE FOLLOWING PERSONS ARE EXCLUDED FROM THE CLASS AND ARE NOT
  CLASS MEMBERS: (I) DEFENDANTS; (II) CURRENT AND FORMER OFFICERS AND
  DIRECTORS OF NMC AND ANY RELEASED PARTY DEFINED IN PARAGARAPH
  1.26 OF THE SETTLEMENT STIPULATION; (III) THE PERSONS DEEMED RELATED
  PARTIES TO THE RELEASED PARTIES AD DEFINED IN PARAGRAPH 1.24 OF THE
  SETTLEMENT STIPULATION; (IV) THE RESPECTIVE SPOUSES, CHILDREN, OR
  PARENTS OF ANY PERSON OR ENTITY EXCLUDED UNDER SUBPARAGRAPHS, (I)
  THROUGH (III) OF THIS PARAGRAPH; (V) ANY PERSON OR ENTITY MORE THAN
  5% OWNED OR DIRECTLY OR INDIRECTLY CONTROLLED BY ANY PERSON OR
  ENTITY EXCLUDED UNDER SUBPARAGRAPHS (I) THROUGH (IV) OF THIS
  PARAGRAPH OR ANY TRUST OF WHICH SUCH A PERSON IS A BENEFICIARY OR
  OF WHICH ANY PERSON OR ENTITY IS RELATED OR AFFILIATED TO A
  BENEFICIARY OR A TRUSTEE; (VI) THE RESPECTIVE HEIRS, SUCCESSORS,
  TRUSTEES AND ASSIGNS OF ANY PERSON EXCLUDED UNDER PARAGRAPHS (I)
  THROUGH (V); AND (VII) THOSE PERSONS WHO FILE VALID AND TIMELY
  REQUESTS FOR EXCLUSION IN ACCORDANCE WITH THE COURT’S ORDER OF
  PRELIMINARY APPROVAL OF SETTLEMENT.

  IF YOU ARE A SETTLEMENT CLASS MEMBER, YOU MUST COMPLETE AND SUBMIT
  THIS PROOF OF CLAIM AND RELEASE FORM (“PROOF OF CLAIM AND RELEASE
  FORM”) IN ORDER TO BE ELIGIBLE FOR ANY SETTLEMENT BENEFITS. YOU CAN
  COMPLETE AND SUBMIT THE ELECTRONIC VERSION OF THIS PROOF OF CLAIM
  AND RELEASE FORM BY 11:59 P.M. EST ON _________, 202__ AT
  WWW.STRATEGICCLAIMS.NET/NMCHEALTH.

  IF YOU DO NOT COMPLETE AND SUBMIT AN ELECTRONIC VERSION OF THIS PROOF
  OF CLAIM AND RELEASE FORM, YOU MUST COMPLETE AND SIGN THIS PROOF OF
  CLAIM AND RELEASE FORM AND MAIL IT BY FIRST CLASS MAIL, POSTMARKED NO
  LATER THAN ____________, 202__ TO STRATEGIC CLAIMS SERVICES, THE CLAIMS
  ADMINISTRATOR, AT THE FOLLOWING ADDRESS:

                            NMC Health PLC Securities Litigation
                               c/o Strategic Claims Services
                                600 N. Jackson St., Ste. 205
                                       P.O. Box 230
                                     Media, PA 19063


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                                                                 EXHIBIT A-3


                               Fax: (610) 565-7985
                             info@strategicclaims.net

  YOUR FAILURE TO SUBMIT YOUR CLAIM BY ____________, 202__ WILL SUBJECT
  YOUR CLAIM TO REJECTION AND PRECLUDE YOU FROM RECEIVING ANY MONEY
  IN CONNECTION WITH THE SETTLEMENT OF THIS ACTION. DO NOT MAIL OR
  DELIVER YOUR CLAIM TO THE COURT OR TO ANY OF THE PARTIES OR THEIR
  COUNSEL, AS ANY SUCH CLAIM WILL BE DEEMED NOT TO HAVE BEEN
  SUBMITTED. SUBMIT YOUR CLAIM ONLY TO THE CLAIMS ADMINISTRATOR. IF
  YOU ARE A SETTLEMENT CLASS MEMBER AND DO NOT SUBMIT A PROPER PROOF
  OF CLAIM AND RELEASE FORM, YOU WILL NOT SHARE IN THE SETTLEMENT, BUT
  YOU NEVERTHELESS WILL BE BOUND BY THE ORDER AND PARTIAL FINAL
  JUDGMENT OF THE COURT UNLESS YOU EXCLUDE YOURSELF.

  SUBMISSION OF A PROOF OF CLAIM AND RELEASE FORM DOES NOT ASSURE THAT
  YOU WILL SHARE IN THE PROCEEDS OF THE SETTLEMENT.




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                                                                 EXHIBIT A-3

  CLAIMANT’S STATEMENT

  1. I (we) purchased or acquired NMC Health PLC’s (“NMC”) American Depositary Shares during the
     Settlement Class Period. (Do not submit this Proof of Claim and Release Form if you did not purchase NMC
     American Depositary Shares during the Settlement Class Period.)

  2. By submitting this Proof of Claim and Release Form, I (we) state that I (we) believe in good faith that I am
     (we are) a Settlement Class Member(s) as defined above and in the Notice of Pendency and Proposed
     Settlement of Class Action (“Notice”), or am (are) acting for such person(s); that I am (we are) not a
     Defendant in the Action or anyone excluded from the Settlement Class; that I (we) have read and understand
     the Notice; that I (we) believe that I am (we are) entitled to receive a share of the Net Settlement Fund, as
     defined in the Notice; that I (we) elect to participate in the proposed Settlement described in the Notice; and
     that I (we) have not filed a request for exclusion. (If you are acting in a representative capacity on behalf of
     a Settlement Class Member [e.g., as an executor, administrator, trustee, or other representative], you must
     submit evidence of your current authority to act on behalf of that Settlement Class Member. Such evidence
     would include, for example, letters testamentary, letters of administration, or a copy of the trust documents.)

  3. I (we) consent to the jurisdiction of the Court with respect to all questions concerning the validity of this
     Proof of Claim and Release Form. I (we) understand and agree that my (our) claim may be subject to
     investigation and discovery under the Federal Rules of Civil Procedure, provided that such investigation and
     discovery shall be limited to my (our) status as a Settlement Class Member(s) and the validity and amount
     of my (our) claim. No discovery shall be allowed on the merits of the Action or Settlement in connection
     with processing of the Proof of Claim and Release Form.

  4. I (we) have set forth where requested below all relevant information with respect to each purchase of NMC
     ADSs, and each sale, if any, of such ADSs. I (we) agree to furnish additional information to the Claims
     Administrator to support this claim if requested to do so.

  5. I (we) have enclosed photocopies of the stockbroker’s confirmation slips, stockbroker’s statements, or other
     documents evidencing each purchase and sale of NMC ADSs listed below in support of my (our) claim. (IF
     ANY SUCH DOCUMENTS ARE NOT IN YOUR POSSESSION, PLEASE OBTAIN A COPY OR
     EQUIVALENT DOCUMENTS FROM YOUR BROKER OR TAX ADVISOR BECAUSE THESE
     DOCUMENTS ARE NECESSARY TO PROVE AND PROCESS YOUR CLAIM.)

  6. I (we) understand that the information contained in this Proof of Claim and Release Form is subject to such
     verification as the Claims Administrator may request or as the Court may direct, and I (we) agree to
     cooperate in any such verification. (The information requested herein is designed to provide the minimum
     amount of information necessary to process most simple claims. The Claims Administrator may request
     additional information as required to efficiently and reliably calculate your Recognized Loss. In some cases,
     the Claims Administrator may condition acceptance of the claim based upon the production of additional
     information, including, where applicable, information concerning transactions in any derivatives securities
     such as options.)

  7. Upon the occurrence of the Court’s approval of the Settlement, as detailed in the Notice, I (we) agree and
     acknowledge that my (our) signature(s) hereto shall effect and constitute a full and complete release, remise
     and discharge by me (us) and my (our) heirs, joint tenants, tenants in common, beneficiaries, executors,
     administrators, predecessors, successors, attorneys, insurers and assigns (or, if I am (we are) submitting this
     Proof of Claim and Release Form on behalf of a corporation, a partnership, estate or one or more other
     persons, by it, him, her or them, and by its, his, her or their heirs, executors, administrators, predecessors,
     successors, and assigns) of each of the “Released Parties” of all “Released Claims,” as those terms are
     defined in the Stipulation and Agreement of Settlement (the “Settlement Stipulation”).




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                                                                 EXHIBIT A-3

  8. Upon the occurrence of the Court’s approval of the Settlement, as detailed in the Notice, I (we) agree and
     acknowledge that my (our) signature(s) hereto shall effect and constitute a covenant by me (us) and my (our)
     heirs, joint tenants, tenants in common, beneficiaries, executors, administrators, predecessors, successors,
     attorneys, insurers and assigns (or, if I am (we are) submitting this Proof of Claim and Release Form on
     behalf of a corporation, a partnership, estate or one or more other persons, by it, him, her or them, and by
     its, his, her or their heirs, executors, administrators, predecessors, successors, and assigns) to permanently
     refrain from prosecuting or attempting to prosecute any Released Claims against any of the Released Parties.

  9. “Released Parties” has the meaning laid out in the Settlement Stipulation.

  10. “Released Claims” has the meaning laid out in the Settlement Stipulation.

  11. “Unknown Claims” has the meaning laid out in the Settlement Stipulation.

  12. I (We) acknowledge that the inclusion of “Unknown Claims” in the definition of claims released pursuant
      to the Settlement Stipulation was separately bargained for and is a material element of the Settlement of
      which this release is a part.

  13. NOTICE REGARDING ELECTRONIC FILES: Certain claimants with large numbers of transactions may
      request, or may be requested, to submit information regarding their transactions in electronic files. All
      Claimants MUST submit a manually signed paper Proof of Claim and Release Form listing all their
      transactions whether or not they also submit electronic copies. If you wish to file your claim electronically,
      you must contact the Claims Administrator at info@strategicclaims.net or visit their website at
      www.strategicclaims.net to obtain the required file layout. No electronic files will be considered to have
      been properly submitted unless the Claims Administrator issues to the Claimant a written acknowledgment
      of receipt and acceptance of electronically submitted data.




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                                                                        EXHIBIT A-3

          I. CLAIMANT INFORMATION
Name




Address




City                                                             State                         ZIP


Foreign Province                                                 Foreign Country


Day Phone                                                        Evening Phone


Email


          Social Security Number (for individuals):         OR      Taxpayer Identification Number (for estates, trusts, corporations, etc.):




          II. SCHEDULE OF TRANSACTIONS IN NMC HEALTH PLC AMERICAN DEPOSITARY
          SHARES

             Beginning Holdings:
             A. State the total number of shares of NMC Health PLC (“NMC”) ADSs
                held at the close of trading on March 13, 2016 (must be documented). If
                none, write “zero” or “0.”


          Purchases/Acquisitions:
          B. Separately list each and every purchase or acquisition of NMC ADSs between March 13, 2016
             and March 10, 2020, both dates inclusive, and provide the following information (must be
             documented):

              Trade Date                                                                                             Total Cost
        (List Chronologically)                                                                                (Excluding Commissions,
          (Month/Day/Year)                    Number of Shares Purchased           Price per Share                Taxes, and Fees)




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                                                                 EXHIBIT A-3


  Sales:
  C. Separately list each and every sale of NMC ADSs between March 13, 2016 and March 10, 2020,
  both dates inclusive, and provide the following information (must be documented):

        Trade Date                                                                        Amount Received
  (List Chronologically)                                                               (Excluding Commissions,
    (Month/Day/Year)            Number of Shares Sold            Price per Share           Taxes, and Fees)




  Ending Holdings:
  D. State the total number of shares of NMC ADSs held at the close of
     trading on March 10, 2020 (must be documented).

  If additional space is needed, attach separate, numbered sheets, giving all required information,
  substantially in the same format, and print your name and Social Security or Taxpayer
  Identification number at the top of each sheet.

  III. SUBSTITUTE FORM W-9

  Request for Taxpayer Identification Number:

  Enter taxpayer identification number below for the Beneficial Owner(s). For most individuals, this is your
  Social Security Number. The Internal Revenue Service (“I.R.S.”) requires such taxpayer identification
  number. If you fail to provide this information, your claim may be rejected.

      Social Security Number (for               or         Taxpayer Identification Number
      individuals)                                         (for estates, trusts, corporations, etc.)


      ______________________________                       _______________________________

  IV. CERTIFICATION

  I (We) submit this Proof of Claim and Release Form under the terms of the Settlement Stipulation described
  in the Notice. I (We) also submit to the jurisdiction of the United States District Court for the Central
  District of California with respect to my (our) claim as a Settlement Class Member and for purposes of
  enforcing the release and covenant not to sue set forth herein. I (We) further acknowledge that I am (we
  are) bound by and subject to the terms of any judgment that may be entered in this Action. I (We) have not
  submitted any other claim covering the same purchases or sales of NMC ADSs during the Class Period and
  know of no other Person having done so on my (our) behalf.

  I (We) certify that I am (we are) NOT subject to backup withholding under the provisions of Section 3406
  (a)(1)(c) of the Internal Revenue Code because: (a) I am (We are) exempt from backup withholding; or (b)
  I (We) have not been notified by the I.R.S. that I am (we are) subject to backup withholding as a result of



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                                  #:2420
                                                                 EXHIBIT A-3

  a failure to report all interest or dividends; or (c) the I.R.S. has notified me (us) that I am (we are) no longer
  subject to backup withholding.

  NOTE: If you have been notified by the I.R.S. that you are subject to backup withholding, please strike out
  the language that you are not subject to backup withholding in the certification above.

  UNDER THE PENALTIES OF PERJURY UNDER THE LAWS OF THE UNITED STATES, I (WE)
  CERTIFY THAT ALL OF THE INFORMATION I (WE) PROVIDED ON THIS PROOF OF CLAIM
  AND RELEASE FORM IS TRUE, CORRECT AND COMPLETE.

                                             Signature of Claimant (If this claim is being made
                                             on behalf of Joint Claimants, then each must sign):

                                             ________________________________________
                                             (Signature)


                                             ________________________________________
                                             (Signature)

                                             ________________________________________
                                             (Capacity of person(s) signing, e.g. beneficial
                                             purchaser(s), executor, administrator, trustee, etc.)
                                                 Check here if proof of authority to file is enclosed.
                                             (See Item 2 under Claimant’s Statement)


  Date: ____________________




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                                  #:2421
                                                                 EXHIBIT A-3

  THIS PROOF OF CLAIM AND RELEASE FORM MUST BE POSTMARKED NO LATER THAN
  _______________, 2022 AND MUST BE MAILED TO:

                                  NMC Health PLC Securities Litigation
                                     c/o Strategic Claims Services
                                      600 N. Jackson St., Ste. 205
                                             P.O. Box 230
                                           Media, PA 19063
                                         Fax: (610) 565-7985
                                       info@strategicclaims.net

  A Proof of Claim and Release Form received by the Claims Administrator shall be deemed to have been
  submitted when posted, if mailed by _________, 2022 and if a postmark is indicated on the envelope and
  it is mailed first class and addressed in accordance with the above instructions. In all other cases, a Proof
  of Claim and Release Form shall be deemed to have been submitted when actually received by the Claims
  Administrator.


  You should be aware that it will take a significant amount of time to process fully all of the Proof of Claim
  and Release Forms and to administer the Settlement. This work will be completed as promptly as time
  permits, given the need to investigate and tabulate each Proof of Claim and Release Form. Please notify
  the Claims Administrator of any change of address.

                                         REMINDER CHECKLIST

      o   Please be sure to sign this Proof of Claim and Release Form on page 7. If this Proof of Claim and
          Release Form is submitted on behalf of joint claimants, then each claimant must sign.

      o   Please remember to attach supporting documents. Do NOT send any stock certificates. Keep copies
          of everything you submit.

      o   Do NOT use highlighter on the Proof of Claim and Release Form or any supporting documents.


      o   If you desire an acknowledgment of receipt of your claim form, please send it Certified Mail, Return
          Receipt Requested, or its equivalent.

      o   If you move or change your address, telephone number or email address, please submit the new
          information to the Claims Administrator, as well as any other information that will assist us in
          contacting you. NOTE: Failure to submit updated information to the Claims Administrator may
          result in the Claims Administrator’s inability to contact you regarding issues with your claim or
          deliver payment to you.




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                      EXHIBIT A-4
                                                                                          Exhibit A-4
2:20-cv-02303-CBM-MAA Document
                          NMC Health117-2       Filed
                                       PLC Securities      02/18/22 Page 94 of 107 Pa
                                                      Litigation
                                  #:2423
                          c/o Strategic Claims Services                PRESORTED
                                         P.O. Box 230                                FIRST-CLASS
                                         Media, PA 19063                              MAIL U.S.
                                                                                    POSTAGE PAID
      Court-Ordered Legal Notice         Case No. :20-cv-02303-CBM-MAA
     Forwarding Service Requested        (C.D. Cal.)


   Important Notice about a Securities   Case Pending in the United States District Court for the
        Class Action Settlement          Central District of California


   You may be entitled to a payment.     [NAME 1]
    This Notice may affect your legal    [NAME 2]
                 rights.                 [NAME 3]
                                         [ADDRESS 1]
         Please read it carefully.       [ADDRESS 2]
2:20-cv-02303-CBM-MAA   Hashem v. Document
                                  NMC Health PLC,117-2
                                                  et al., No. 20-cv-02303 (C.D. Cal.) Page 95 of 107 Pa
                                                               Filed 02/18/22
                THIS CARD PROVIDES ONLY LIMITED INFORMATION ABOUT THE SETTLEMENT.
                                               #:2424
          PLEASE VISIT WWW.STRATEGICCLAIMS.NET/NMCHEALTH OR CALL 1-866-274-4004 FOR MORE
                                                                  INFORMATION.
   The United States District Court for the Central District of California (“Court”) has preliminarily approved a proposed Settlement
   of claims against B.R. Shetty (“Settling Defendant”). The proposed Settlement would resolve claims against the Settling Defendant
   in a class action lawsuit alleging that, in violation of the federal securities laws, Settling Defendant made misrepresentations and/or
   omissions of material fact in various public statements to investors. The Settling Defendant denies the allegations.
   You received this notice because you may have purchased or acquired NMC American Depositary Shares (“ADSs”) between March
   13, 2016 and March 10, 2020, both dates inclusive, and you may be a Settlement Class Member. The Settlement provides that, in
   exchange for the dismissal and release of claims against the Settling Defendant, a fund consisting of $300,000, less expenses, will
   be divided among Settlement Class Members who timely submit a valid Proof of Claim and Release Form (“Proof of Claim”). For
   a full description of the Settlement and your rights and to make a claim, please view the Stipulation and Agreement of Settlement
   and obtain a copy of the Notice of Pendency and Proposed Partial Settlement of Class Action (“Notice”) and Proof of Claim by
   visiting the website: www.strategicclaims.net/NMCHealth. You may also request copies of the Notice and Proof of Claim from
   the Claims Administrator through any of the following ways: (1) mail: NMC Health PLC Securities Litigation, c/o Strategic Claims
   Services, P.O. Box 230, 600 N. Jackson St, Ste. 205, Media, PA 19063; (2) call toll free: (866) 274-4004; (3) fax: (610) 565-7985;
   or (4) email: info@strategicclaims.net.
   To qualify for payment, you must submit a Proof of Claim (unless you have provided a Proof of Claim in connection with the
   Tompkins Settlement which has been acknowledged by the Claims Administrator), which can be found on the website
   www.strategicclaims.net/NMCHealth. PROOFS OF CLAIM ARE DUE BY _____ __, 202__ TO NMC HEALTH PLC
   SECURITIES LITIGATION, C/O STRATEGIC CLAIMS SERVICES, P.O. BOX 230, 600 N. JACKSON ST, STE 205, MEDIA,
   PA 19063. If you do not want to be legally bound by the Settlement, you must exclude yourself by ____ __, 202__. If you exclude
   yourself, you cannot get money from this Settlement. If you stay in the Settlement, you may object to it by ______ __, 202__. The
   Notice explains how to exclude yourself or to object.
   The Court will hold a hearing in this case on _______ __, 202__ at __:__ _.m. at the United States District Court for the Central
   District of California, First Street Courthouse, 350 W. 1st Street, Courtroom # 8B, 8th Floor, Los Angeles, California 90012 to
   consider whether to approve the Settlement, the Plan of Allocation, and a request by Lead Counsel for an award of attorneys’ fees
   up to one-third of the Settlement Amount, up to $10,000 reimbursement for expenses incurred in litigating the case, and a
   compensatory award to Lead Plaintiffs not to exceed $3,000 each. You may, but do not have to, attend the hearing and ask to be
   heard by the Court. For more information, call toll-free 1-866-274-4004, or visit the website www.strategicclaims.net/NMCHealth.
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                        EXHIBIT B
Case 2:20-cv-02303-CBM-MAA Document 117-2 Filed 02/18/22 Page 97 of 107 Page ID
                                  #:2426



 1

 2
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 3

 4    CHRIS HASHEM, individually and                Case No.: 2:20-cv-02303-CBM-MAA
      on behalf of all others similarly situated,
 5                                                  (Consolidated with Case No. 2:20-cv-
                                 Plaintiff,         02895-CBM-MAA)
 6
                   vs.                              [PROPOSED] ORDER AND
 7                                                  PARTIAL FINAL JUDGMENT
      NMC HEALTH PLC, PRASANTH
 8    MANGHAT, KHALIFA BIN BUTTI,                    [Honorable Consuelo B. Marshall]
      PRASHANTH SHENOY, H.J. MARK
 9    TOMPKINS, and B.R. SHETTY,
10                               Defendants.
11

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      [PROPOSED] ORDER AND PARTIAL FINAL JUDGMENT, Case No. 2:20cv02895-CBM-MAA
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 1              [PROPOSED] ORDER AND PARTIAL FINAL JUDGMENT
 2          On the ____ day of ____________, 2022 a hearing having been held before
 3    this Court to determine: (1) whether the terms and conditions of the Stipulation and
 4    Agreement of Settlement dated February 17, 2022 (“Settlement Stipulation”) are fair,
 5    reasonable and adequate for the settlement of all claims asserted by the Settlement
 6    Class against Dr. B.R. Shetty (“Settling Defendant” or “Dr. Shetty”), including the
 7    release of the Released Claims against the Released Parties, and should be approved;
 8    (2) whether judgment should be entered dismissing the Settling Defendant with
 9    prejudice; (3) whether to approve the proposed Plan of Allocation as a fair and
10    reasonable method to allocate the Net Settlement Fund among Settlement Class
11    Members; (4) whether and in what amount to award attorneys’ fees to Co-Lead
12    Counsel; (5) whether and in what amount to award Co-Lead Counsel reimbursement
13    of litigation expenses; and (6) whether and in what amount to award compensation to
14    Lead Plaintiffs.
15          The Court having considered all matters submitted to it at the hearing and
16    otherwise; and
17          It appearing in the record that the Summary Notice substantially in the form
18    approved by the Court in the Court’s Order Granting Plaintiffs’ Motion for
19    Preliminary Approval of Partial Class Action Settlement, dated __________, 2021
20    (“Preliminary Approval Order”) was published; the Postcard Notice was mailed to
21    all reasonably identifiable Settlement Class Members; a link to the Notice was
22    emailed to all reasonably identifiably Settlement Class Members and the Notice was
23    posted to the website of the Claims Administrator; all in accordance with the
24    Preliminary Approval Order and the specifications of the Court; and
25          NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND
26    DECREED THAT:
27

28
                                                2
             [PROPOSED] ORDER AND PARTIAL FINAL JUDGMENT, Case No. 2:20cv02895-CBM-MAA
Case 2:20-cv-02303-CBM-MAA Document 117-2 Filed 02/18/22 Page 99 of 107 Page ID
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 1          1.     This Order and Partial Final Judgment incorporates by reference the
 2    definitions in the Settlement Stipulation, and all capitalized terms used herein shall
 3    have the same meanings as set forth therein.
 4          2.     The Court has jurisdiction over the subject matter of the Action.
 5          3.     The Court finds that, for settlement purposes only, the prerequisites for
 6    a class action under Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure
 7    have been satisfied in that:
 8          (a) the number of Settlement Class Members is so numerous that joinder of all
 9          members thereof is impracticable;
10          (b) there are questions of law and fact common to the Settlement Class;
11          (c) the claims of Lead Plaintiffs are typical of the claims of the Settlement
12          Class they seek to represent;
13          (d) Lead Plaintiffs and Co-Lead Counsel fairly and adequately represent the
14          interests of the Settlement Class;
15          (e) questions of law and fact common to the members of the Settlement Class
16          predominate over any questions affecting only individual members of the
17          Settlement Class; and
18          (f) a class action is superior to other available methods for the fair and
19          efficient adjudication of this Action, considering:
20                 i.     the interests of the Settlement Class Members in individually
21                 controlling the prosecution of the separate actions;
22                 ii.    the extent and nature of any litigation concerning the controversy
23                 already commenced by Settlement Class Members;
24                 iii.   the desirability or undesirability of concentrating the litigation of
25                 these claims in this particular forum; and
26                 iv.    the difficulties likely to be encountered in the management of the
27                 class action.
28          The Settlement Class is being certified for settlement purposes only.
                                                  3
             [PROPOSED] ORDER AND PARTIAL FINAL JUDGMENT, Case No. 2:20cv02895-CBM-MAA
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 1          4.      The Court hereby finally certifies this action as a class action for
 2    purposes of the Settlement, pursuant to Rule 23(a) and (b)(3) of the Federal Rules of
 3    Civil Procedure, on behalf of all Persons (including, without limitation, their
 4    beneficiaries) who purchased or acquired NMC Health PLC (“NMC” or the
 5    “Company”) American Depositary Shares (“ADSs”) between March 13, 2016 and
 6    March 10, 2020, both dates inclusive. Excluded from the Settlement Class are (i)
 7    Defendants; (ii) current and former officers and directors of NMC and any Released
 8    Parties defined in paragraph 1.26 of the Settlement Stipulation; (iii) the Persons
 9    deemed Related Parties to the Released Parties as defined in paragraph 1.24 of the
10    Settlement Stipulation; (iv) the respective spouses, children, or parents of any Person
11    excluded under subparagraphs (i) through (iii) of this paragraph; (v) any Person more
12    than 5% owned or directly or indirectly controlled by any Person excluded under
13    subparagraphs (i) through (iv) of this paragraph or any trust of which such a Person
14    is a beneficiary or of which any Person is related or affiliated to a beneficiary or a
15    trustee; (vi) the respective heirs, successors, trustees and assigns of any Person
16    excluded under paragraphs (i) through (v); and (vii) those Persons who file valid and
17    timely requests for exclusion in accordance with the Court’s Preliminary Approval
18    Order.
19          5.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, for the
20    purposes of this Settlement only, Lead Plaintiffs are certified as the class
21    representatives on behalf of the Settlement Class and Co-Lead Counsel previously
22    selected by Lead Plaintiffs and appointed by the Court is hereby appointed as class
23    counsel for the Settlement Class (“Co-Lead Counsel”).
24          6.      In accordance with the Court’s Preliminary Approval Order, the Court
25    hereby finds that the forms and methods of notifying the Settlement Class of the
26    Settlement and its terms and conditions met the requirements of due process, Rule 23
27    of the Federal Rules of Civil Procedure, and Section 21D(a)(7) of the Exchange Act,
28    15 U.S.C. § 78u-4(a)(7), as amended by the Private Securities Litigation Reform Act
                                                  4
               [PROPOSED] ORDER AND PARTIAL FINAL JUDGMENT, Case No. 2:20cv02895-CBM-MAA
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 1    of 1995; constituted the best notice practicable under the circumstances; and
 2    constituted due and sufficient notice of these proceedings and the matters set forth
 3    herein, including the Settlement and Plan of Allocation, to all Persons entitled to
 4    such notice. No Settlement Class Member is relieved from the terms and conditions
 5    of the Settlement, including the releases provided for in the Settlement Stipulation,
 6    based upon the contention or proof that such Settlement Class Member failed to
 7    receive actual or adequate notice. A full opportunity has been offered to the
 8    Settlement Class Members to object to the proposed Settlement and to participate in
 9    the hearing thereon. The Court further finds that the notice provisions of the Class
10    Action Fairness Act, 28 U.S.C. § 1715, were fully discharged. Thus, it is hereby
11    determined that all Settlement Class Members are bound by this Order and Partial
12    Final Judgment except those Persons listed on Exhibit A to this Order and Partial
13    Final Judgment.
14          7.     The Settlement is approved as fair, reasonable and adequate under Rule
15    23 of the Federal Rules of Civil Procedure, and in the best interests of the Settlement
16    Class. This Court further finds that the Settlement set forth in the Settlement
17    Stipulation is the result of good faith, arm’s-length negotiations between experienced
18    counsel representing the interests of Lead Plaintiffs, Settlement Class Members, and
19    the Settling Defendant. The Settling Parties are directed to consummate the
20    Settlement in accordance with the terms and provisions of the Settlement Stipulation.
21          8.     The Action and all claims contained therein, as well as all of the
22    Released Claims, are dismissed with prejudice as against Dr. Shetty and the Released
23    Parties. The Settling Parties are to bear their own costs, except as otherwise provided
24    in the Settlement Stipulation.
25          9.     The Court orders:
26          (a)          In accordance with 15 U.S.C. § 78u-4(f)(7)(A), any and all claims
27          for contribution arising out of the Released Claims by any Person against any
28          of the Released Parties (other than as set out in 15 U.S.C. § 78u-4(f)(7)(A)(ii))
                                                 5
             [PROPOSED] ORDER AND PARTIAL FINAL JUDGMENT, Case No. 2:20cv02895-CBM-MAA
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 1          are hereby permanently barred, extinguished, discharged, satisfied and
 2          unenforceable. Accordingly, without limitation to any of the above, any
 3          Person is hereby permanently enjoined from commencing, prosecuting, or
 4          asserting against any of the Released Parties any such claim for contribution.
 5          In accordance with 15 U.S.C. § 78u-4(f)(7)(B), any final verdict or judgment
 6          that might be obtained by or on behalf of the Lead Plaintiffs, the Settlement
 7          Class or a Settlement Class Member against any Person for loss for which
 8          such Person and any Released Parties are found to be jointly responsible shall
 9          be reduced by the greater of (i) an amount that corresponds to the total amount
10          of the Settling Defendant’s percentage of responsibility for the loss to the Lead
11          Plaintiffs, the Settlement Class or Settlement Class Member, or (ii) the
12          Settlement Amount.
13          (b)          Any and all Persons are permanently barred, enjoined, and
14          restrained from commencing, prosecuting, or asserting any claim against any
15          of the Released Parties arising under any federal, state, or foreign statutory or
16          common-law rule, however styled, whether for indemnification or contribution
17          or otherwise denominated, including claims for breach of contract or for
18          misrepresentation, where the claim is or arises from a Released Claim and the
19          alleged injury to such Person arises from that Person’s alleged liability to Lead
20          Plaintiffs, the Settlement Class or any Settlement Class Member, including
21          any claim in which a Person seeks to recover from any of the Released Parties
22          any amounts such Person has or might become liable to pay to Lead Plaintiffs
23          or the Settlement Class or any Settlement Class Member (hereafter the
24          “Complete Bar Order”). All such claims are hereby extinguished, discharged,
25          satisfied, and unenforceable. The provisions of the Complete Bar Order are
26          intended to preclude any liability of any of the Released Parties to any Person
27          for indemnification, contribution, or otherwise on any claim that is or arises
28          from a Released Claim and where the alleged injury to such Person arises
                                                 6
             [PROPOSED] ORDER AND PARTIAL FINAL JUDGMENT, Case No. 2:20cv02895-CBM-MAA
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 1          from that Person’s alleged liability to the Lead Plaintiffs, the Settlement Class
 2          or any Settlement Class Member; provided however, that if the Lead
 3          Plaintiffs, Settlement Class or any Settlement Class Member obtains any
 4          judgment against any such Person based upon, arising out of, or relating to any
 5          Released Claim for which such Person and any of the Released Parties are
 6          found to be jointly responsible, that Person shall be entitled to a judgment
 7          credit equal to an amount that is the greater of (i) an amount that corresponds
 8          to such Released Party’s or Parties’ percentage of responsibility for the loss to
 9          the Lead Plaintiffs or Settlement Class or Settlement Class Member, or (ii) the
10          Settlement Amount.
11          (c)          If any term of the Complete Bar Order entered by the Court is
12          held to be unenforceable after the date of entry, such provision shall be
13          substituted with such other provision as may be necessary to afford all of the
14          Released Parties the fullest protection permitted by law from any claim that is
15          based upon, arises out of, or relates to any Released Claim.
16          (d)          Notwithstanding the Complete Bar Order or anything else in the
17          Settlement Stipulation, nothing shall release, interfere with, limit, or bar the
18          assertion by any Released Party of any claim for or defense to the availability
19          of insurance coverage under any insurance, reinsurance or indemnity policy
20          that provides coverage respecting the conduct at issue in this Action, except as
21          limited by the insurance agreement.
22          (e)          Nothing in this Order or the Settlement shall be deemed to release
23          any claim by Lead Plaintiffs or the Settlement Class against any Defendant in
24          this Action other than Dr. Shetty.
25          10.   The Releasing Parties, on behalf of themselves, their successors and
26    assigns, and any other Person claiming (now or in the future) through or on behalf of
27    them, regardless of whether any such Releasing Party ever seeks or obtains by any
28    means, including without limitation by submitting a Proof of Claim and Release
                                                 7
             [PROPOSED] ORDER AND PARTIAL FINAL JUDGMENT, Case No. 2:20cv02895-CBM-MAA
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 1    Form, any disbursement from the Settlement Fund, shall be deemed to have, and by
 2    operation of this Order and Partial Final Judgment shall have, fully, finally, and
 3    forever released, relinquished, and discharged all Released Claims against the
 4    Released Parties. The Releasing Parties shall be deemed to have, and by operation of
 5    this Order and Partial Final Judgment shall have, covenanted not to sue the Released
 6    Parties with respect to any and all Released Claims in any forum and in any capacity.
 7    The Releasing Parties shall be and hereby are permanently barred and enjoined from
 8    asserting, commencing, prosecuting, instituting, assisting, instigating, or in any way
 9    participating in the commencement or prosecution of any action or other proceeding,
10    in any forum, asserting any Released Claim, in any capacity, against any of the
11    Released Parties. Nothing contained herein shall, however, bar the Releasing Parties
12    from bringing any action or claim to enforce the terms of the Settlement Stipulation
13    or this Order and Partial Final Judgment.
14          11.    The Court hereby finds that the proposed Plan of Allocation is a fair and
15    reasonable method to allocate the Net Settlement Fund among Settlement Class
16    Members, and Co-Lead Counsel and the Claims Administrator are directed to
17    administer the Plan of Allocation in accordance with its terms and the terms of the
18    Settlement Stipulation.
19          12.    The Court awards fees to Co-Lead Counsel in the amount of
20    $_________ and reimbursement of expenses to Co-Lead Counsel in the amount of
21    $________, said amounts to be paid from the Settlement Fund. The Court also
22    awards each Lead Plaintiff a compensatory award in the amount of $______, also to
23    be paid from the Settlement Fund.
24          13.    The Court finds that the Settling Parties and their counsel have
25    complied with all requirements of Rule 11 of the Federal Rules of Civil Procedure
26    and the Private Securities Litigation Record Act of 1995 as to all proceedings herein.
27          14.    Neither this Order and Partial Final Judgment, the Settlement
28    Stipulation (nor the Settlement contained therein), nor any of its terms and
                                                  8
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 1    provisions, nor any of the negotiations, documents or proceedings connected with
 2    them:
 3            (a)          is or may be deemed to be, or may be used as an admission,
 4            concession, or evidence of, the validity or invalidity of any Released Claims,
 5            the truth or falsity of any fact alleged by Lead Plaintiffs, the sufficiency or
 6            deficiency of any defense that has been or could have been asserted in the
 7            Action, or of any wrongdoing, liability, negligence or fault of Settling
 8            Defendant, the Released Parties, or each or any of them;
 9            (b)          is or may be deemed to be or may be used as an admission of, or
10            evidence of, any fault or misrepresentation or omission with respect to any
11            statement or written document attributed to, approved or made by the Settling
12            Defendant or Released Parties in any civil, criminal or administrative
13            proceeding in any court, administrative agency or other tribunal;
14            (c)          is or may be deemed to be or shall be used, offered or received
15            against the Settling Parties, Settling Defendant or the Released Parties, or each
16            or any of them, as an admission, concession or evidence of the validity or
17            invalidity of the Released Claims, the infirmity or strength of any claim raised
18            in the Action, the truth or falsity of any fact alleged by the Lead Plaintiffs or
19            the Settlement Class, or the availability or lack of availability of meritorious
20            defenses to the claims raised in the Action;
21            (d)          is or may be deemed to be or shall be construed as or received in
22            evidence as an admission or concession against the Settling Defendant, or the
23            Released Parties, or each or any of them, that any of Lead Plaintiffs’ claims or
24            Settlement Class Members’ claims are with or without merit, that a litigation
25            class should or should not be certified, that damages recoverable in the Action
26            would have been greater or less than the Settlement Fund or that the
27            consideration to be given pursuant to the Settlement Stipulation represents an
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                                                   9
              [PROPOSED] ORDER AND PARTIAL FINAL JUDGMENT, Case No. 2:20cv02895-CBM-MAA
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 1          amount equal to, less than or greater than the amount which could have or
 2          would have been recovered after trial.
 3          15.    The Released Parties may file the Settlement Stipulation and/or this
 4    Order and Partial Final Judgment in any other action that may be brought against
 5    them in order to support a defense or counterclaim based on principles of res
 6    judicata, collateral estoppel, full faith and credit, release, good faith settlement,
 7    judgment bar or reduction or any other theory of claim preclusion or issue preclusion
 8    or similar defense or counterclaim. The Settling Parties may file the Settlement
 9    Stipulation and/or this Order and Partial Final Judgment in any proceedings that may
10    be necessary to consummate or enforce the Settlement Stipulation, the Settlement, or
11    this Order and Partial Final Judgment.
12          16.    Except as otherwise provided herein or in the Settlement Stipulation, all
13    funds held by the Escrow Agent shall be deemed to be in custodia legis and shall
14    remain subject to the jurisdiction of the Court until such time as the funds are
15    distributed or returned pursuant to the Settlement Stipulation and/or further order of
16    the Court.
17          17.    Without affecting the finality of this Order and Partial Judgment in any
18    way, this Court hereby retains continuing exclusive jurisdiction regarding the
19    administration, interpretation, effectuation or enforcement of the Settlement
20    Stipulation and this Order and Partial Final Judgment, and including any application
21    for fees and expenses incurred in connection with administering and distributing the
22    Settlement proceeds to the Settlement Class Members.
23          18.    Without further order of the Court, Settling Defendant and Lead
24    Plaintiffs may agree to reasonable extensions of time to carry out any of the
25    provisions of the Settlement Stipulation.
26          19.    There is no just reason for delay in the entry of this Order and Partial
27    Final Judgment and immediate entry by the Clerk of the Court is expressly directed
28    pursuant to Rule 54(b) of the Federal Rules of Civil Procedure.
                                                  10
             [PROPOSED] ORDER AND PARTIAL FINAL JUDGMENT, Case No. 2:20cv02895-CBM-MAA
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 1           20.    The finality of this Order and Partial Final Judgment is not contingent
 2    on rulings that the Court may make on any of Co-Lead Counsel’s applications in the
 3    Action for fees or expenses to Co-Lead Counsel, or compensatory awards to Lead
 4    Plaintiffs.
 5           21.    If the Settlement is not consummated in accordance with the terms of
 6    the Settlement Stipulation, then the Settlement Stipulation and this Order and Partial
 7    Final Judgment (including any amendment(s) thereof, and except as expressly
 8    provided in the Settlement Stipulation or by order of the Court) shall be null and
 9    void, of no further force or effect, and without prejudice to any Settling Party, and
10    may not be introduced as evidence or used in any action or proceeding by any Person
11    against the Settling Parties or the Released Parties, and each Settling Party shall be
12    restored to his, her or its respective litigation positions as they existed prior to
13    December 27, 2021, pursuant to the terms of the Settlement Stipulation.
14

15    Dated: ___________, 202__
16           ______________________________
                                                        HON. CONSUELO B. MARSHALL
17                                                      UNITED STATES DISTRICT
18                                                      JUDGE
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             [PROPOSED] ORDER AND PARTIAL FINAL JUDGMENT, Case No. 2:20cv02895-CBM-MAA
